        Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 1 of 56



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

     IN RE: AIR CRASH OVER THE
    SOUTHERN INDIAN OCEAN ON
             MARCH 8, 2014                         MDL Docket No: 2712
This Document Relates To:                          Misc. No. 16-1184 (KBJ)
Gaspard v. Malaysia Airlines Berhad, et al.,
16-cv-0419-KBJ
Wood v. Malaysia Airlines Berhad;
16-cv-00419-KBJ

    THE PLAINTIFFS’ RESPONSE TO MALAYSIA AIRLINES’ MOTION TO DISMISS
                FOR LACK OF SUBJECT MATTER JURISDICTION




                                                
 
               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 2 of 56




                                                     TABLE OF CONTENTS



TABLE OF CONTENTS................................................................................................................. i
TABLE OF AUTHORITIES .......................................................................................................... ii
INDEX OF EXHIBITS .................................................................................................................. vi
MEMORANDUM .......................................................................................................................... 1
The Legal Standard ......................................................................................................................... 1
Argument ........................................................................................................................................ 1
    I.      The Wood Plaintiff has established Fifth Jurisdiction under the Montreal Convention ...... 2
          A. The meaning of “principal and permanent residence” ..................................................... 3
          B. The federal cases unanimously support the Plaintiff’s position ....................................... 7
          C. Malaysia Airlines’ legal arguments are unpersuasive .................................................... 14
          D. Mr. Wood’s domicile was in the United States .............................................................. 23
    II.        The Wood and Gaspard Plaintiffs have established Third Jurisdiction ......................... 32
          A. The Decedents’ offers were accepted in the United States ............................................ 33
          B. The acceptance of the Decedents’ offers was manifested in the United States ............. 40
          C. The case law supports the Plaintiffs’ position ................................................................ 41
Conclusion .................................................................................................................................... 45
 




                                                                         i 
 
             Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 3 of 56
                                                                


                                                 TABLE OF AUTHORITIES

Cases 

Abbott v. Abbott,
    560 U.S. 1 (2010) .................................................................................................................... 4, 7
Acridge v. Evangelical Lutheran Good Samaritan Soc.,
    334 F.3d 444 (5th Cir. 2003) ..................................................................................................... 24
Baah v. Virgin Atlantic Airways Ltd.,
    473 F. Supp. 2d 591 (S.D.N.Y. 2007) ....................................................................................... 44
Boyar v. Korean Air Lines,
    664 F. Supp. 1481 (D.D.C.1987) ....................................................................................... passim
Brink’s Ltd. v. South African Airways,
    93 F. 3d 1022 (2d Cir. 1996) ..................................................................................................... 13
Burlington Northern R.R. v. Oklahoma Comm’n,
    481 U.S. 454 (1987) .................................................................................................................. 20
Chan v. Korean Air Lines, Ltd.,
    490 U.S. 122 (1989) ............................................................................................................ 13, 20
Choi v. Asiana Airlines, Inc.,
    No. 14-cv-03738, 2015 WL 394198 (N.D. Cal. Jan. 29, 2015) .......................................... 5, 6, 7
Companhia Brasileira v. Applied Indus. Materials Corp.
    887 F.Supp. 2d 9 (D.D.C. 2012) ............................................................................................... 40
Core VCT v. Hensley,
    59 F.Supp. 3d 123 (D.D.C. 2014) ................................................................................. 24, 25, 32
Dastar Corp. v. Twentieth Century Fox Film Corp.,
    539 U.S. 23 (2003) .................................................................................................................. 6, 7
Desmare v. U.S.,
    93 U.S. 605 (1876) .................................................................................................................... 24
Eastern Airlines, Inc. v. Floyd,
    499 U.S. 530 (1991) .................................................................................................................. 20
Eck v. United Arab Airlines,
    360 F.2d 804 (2d Cir. 1966) ............................................................................................... passim


                                                                       ii 
 
             Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 4 of 56
                                                                


Ehrlich v. American Airlines, Inc.,
    360 F.3d 366 (2d Cir. 2004) ...................................................................................................... 16
Freidrich v. Davis,
    767 F.3d 374 (3d Cir. 2014) ...................................................................................................... 23
Gutierrez v. Fox,
    141 F.3d 425 (2d Cir. 1998) ...................................................................................................... 24
Hornsby v. Lufthansa German Airlines,
    593 F. Supp. 2d 1132 (C.D. Cal. 2009) .............................................................................. passim
In re Air Crash Over Mid-Atlantic on June 1, 2009,
    760 F. Supp. 2d 832 (N.D. Cal. 2010) ............................................................................... passim
In re Auto-Train Corp.,
    9 B.R. 159 (Bankr. D.D.C. 1981) ........................................................................................ 33, 41
Johnson v. Sullivan,
    748 F.Supp. 2d 1 (D.D.C. 2010) ....................................................................................... 1, 4, 40
Lew v. Moss,
    797 F.2d 747 (9th Cir. 1986) ..................................................................................................... 24
Lockamy v. Truesdale,
    182 F.Supp. 2d 26 (D.D.C. 2001) ..................................................................................... 1, 3, 40
Lopes v. Jetsetdc, LLC,
    4 F.Supp.3d 238 (D.D.C. 2014) ................................................................................................ 24
Marquez-Ramos v. Reno,
    69 F. 3d 477 (10th Cir. 1995) .................................................................................................... 19
McCann v. Newman Irrevocable Trust,
    458 F.3d 281 (3d Cir. 2006) .......................................................................................... 23, 24, 25
Medellin v. Texas,
    552 U.S. 491 (2008) .................................................................................................................... 4
Mora v. New York,
    524 F. 3d 183 (2d Cir. 2008) ..................................................................................................... 19
Naegele v. Albers,
    355 F.Supp.2d 129 (D.D.C. 2005) ............................................................................................ 24



                                                                      iii 
 
             Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 5 of 56
                                                                


National R.R. Passenger Corp. v. Boston and Maine Corp.,
    503 U.S. 407 (1992) .................................................................................................................... 5
Prakash v. Am. Univ.,
    727 F.2d 1174 (D.C. Cir. 1984) .................................................................................... 23, 26, 27
Regions Hosp. v. Shalala,
    522 U.S. 448 (1998) .................................................................................................................... 5
Sandifer v. U.S. Steel Corp.,
    134 S. Ct. 870 (2014) .................................................................................................................. 6
Seales v. Panamanian Aviation Co.,
    2009 WL 395821 (E.D.N.Y. 2009) ......................................................................... 11, 12, 13, 16
Shafer v. Children’s Hosp. Soc’y of Los Angeles,
    265 F.2d 107 (D.C. Cir. 1959) .................................................................................................. 24
Slobojan v. United States,
    136 Ct. Cl. 620 (1956) ......................................................................................................... 40, 41
Snap-On Tools, Inc. v. United States,
    26 Cl. Ct. 1045 (1992) ............................................................................................................... 20
Stifel v. Hopkins,
    477 F.2d 1116 (6th Cir. 1973) ............................................................................................. 24, 32
Sullivan v. Kidd,
    254 U.S. 433 (1921) .................................................................................................................... 5
U.S. v. Anderson,
    15 F. 3d 278 (2d Cir. 1994) ......................................................................................................... 5
United States v. Williams,
    825 F.Supp. 2d 117 (D.D.C. 2011) ........................................................................................... 24
Vlandis v. Kline,
    412 U.S. 441 (1973) .................................................................................................................. 23
Wagshal v. Rigler,
    947 F.Supp. 10 (D.D.C. 1996) ............................................................................................ 24, 32
Washington v. Hovensa, LLC,
    652 F.3d 340 (3d Cir. 2011) ................................................................................................ 24, 31



                                                                      iv 
 
              Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 6 of 56
                                                                 


World Holdings, LLC v. Fed. Republic of Germany,
    794 F. Supp. 2d 1305 (S.D. Fla. 2011)........................................................................................ 5

Rules 

Fed. R. Evid. 803(3) ........................................................................................................................ 3

Other Authorities
Black's Law Dictionary (6th ed. 1990)…………………………………………………………….5

Black's Law Dictionary (8th ed. 2004)…………………………………………………………..6

Convention between the United States of America and Other Governments on Aviation, at,
    S. Treaty Doc. No. 106-45, May 29, 1999, T.I.A.S. No. 13038 (effective Nov. 4, 2003)
    (Montreal Convention) ............................................................................. 1, 2, 3, 5, 15, 21, 32,44

Convention for the Unification of Certain Rules Relating to International Transportation by Air,
    Concluded at Warsaw, Poland, October 12, 1929, T.S. No. 876 (Warsaw
    Convention)...........................................................................................................................15, 44

International Conference on Air Law (ICAO) , Convention for the Unification of Certain Rules
    for International Carriage by Air, Documents, Montreal, Canada, May 10-28, 1999……..20, 21

International Conference on Air Law (ICAO) , Convention for the Unification of Certain Rules
    for International Carriage by Air, Minutes, Montreal, Canada, May 10-28, 1999…………18,21

International Conference on Air Law (ICAO) , Convention for the Unification of Certain Rules
    for International Carriage by Air, Preparatory Material, Montreal, Canada, May 10-28,
    1999…………………………………………………………………………….15, 17, 18, 19, 20

Restatement (Second) of Contracts § 64(c) ...................................................................... 33, 40, 41
The New Warsaw Convention: The Montreal Convention, 25 Air & Space L. 12 (2000)………..1




                                                                       v 
 
              Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 7 of 56
                                                   


                                        INDEX OF EXHIBITS
    Ex. No.                                     Description

      1         Declaration of Nicholas Wood

      2         Declaration of Christopher Wood

      3         Declaration of Elaine Wood

      4         Declaration of Thomas Wood

      5         Declaration of Aubrey Wood

      6         Declaration of Stacey Blaustein

      7         ICAO Preparatory Material, Report of the First Meeting of the Special Group on the
                Modernization and Consolidation of the “Warsaw System,” May 14-18, 1998
                (“Special Group-Warsaw, First Report”) (relevant pages)

      8         ICAO Preparatory Material, Council – 150th Session, Modernization of the “Warsaw
                System” – Rapporteur’s Report and Matters Relating to the 30th Session of the Legal
                Committee, Mar. 7, 1997

      9         ICAO Preparatory Material, Council – 150th Session, Modernization of the “Warsaw
                System” – Rapporteur’s Report and Matters Relating to the 30th Session of the Legal
                Committee, Attachment A

      10        ICAO Preparatory Material, Council – 154th Session, Modernization of the “Warsaw
                System,” May 27, 1998

      11        ICAO Minutes, Minutes of the Fourth Meeting, May 19, 1999

      12        ICAO Documents, DCW Doc No. 33, Draft Convention for the Unification of
                Certain Rules for International Carriage by Air (Presented by France), May 28,
                1999

      13        ICAO Minutes, Minutes of the Eighth Meeting, May 17, 1999

      14        ICAO Documents, DCW Doc No. 12, Draft Convention for the Unification of
                Certain Rules for International Carriage by Air (Presented by the United States of
                America), May 10-28, 1999

      15        ICAO Minutes, Minutes of the Thirteenth Meeting, May 25, 1999

      16        Philip Wood and Malaysia IBM’s employment contract


                                                      vi 
 
         Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 8 of 56
                                            


    17     Summary of Philip Wood’s monthly allowances while on assignment in Beijing

    18     Relevant pages of Philip Wood’s 2011, 2012, and 2013, United States Tax Returns

    19     Philip Wood’s Chase Checking Account Balance Summary

    20     Philip Wood’s Chase Savings Account Balance Summary

    21     March 3, 2016 Letter regarding Chase Credit Card

    22     Philip Wood’s IBM 401(k) Statement

    23     Philip Wood’s Brokerage Account with Charles Schwab & Co’ Statement

    24     Philip Wood’s State Farm Homeowner’s Insurance Policy

    25     Philip Wood’s State Farm Life Insurance Policy

    26     Cigna Medical Insurance Card

    27     Philip Wood’s Voter Registration Records

    28     Philip Wood’s Driver License Records

    29     Philip Wood’s Probate documents

    30     Philip Wood’s Itinerary Receipt

    31     Philip Wood’s “Journey Details”

    32     Gaspard Orbitz Reservation

    33     Gaspard Itinerary Receipt

    34     Gaspard “Journey Details”

    35     Galileo International Global Airline Distribution Agreement (“GIGADA”) (filed
           under seal)

    36     January 29, 2009 Letter (filed under seal)

    37     February 26, 2010 Letter (filed under seal)

    38     Lease agreement with Kilroy Realty (filed under seal)

    39     Airline Content Agreement (AOC) (filed under seal)




                                               vii 
 
         Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 9 of 56
                                          


    40     Content Addendum – Agreement between Travelport and MAS (filed under seal)

    41     Declaration of Brian Keith Ingram




                                               viii 
 
               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 10 of 56
                                                                    


                                                               MEMORANDUM

              In its motion to dismiss the Plaintiffs’1 complaint for lack of subject matter jurisdiction,

Malaysia Airlines2 stretches beyond recognition the meaning of the Montreal Convention’s3

jurisdictional provisions, ignores the federal cases interpreting those provisions, and flatly

misconstrues—and, at times, cherry-picks from—the explanations the Convention gave in the

course of promulgating those provisions. Its motion should be denied.4

                                                               The Legal Standard

              “In assessing whether a complaint sufficiently alleges subject matter jurisdiction, the

Court accepts as true the allegations of the complaint and must liberally construe the pleadings

such that the plaintiff benefits from all inferences derived from the facts alleged.” Johnson v.

Sullivan, 748 F.Supp.2d 1, 8 (D.D.C. 2010) (citation omitted). “In evaluating whether subject-

matter jurisdiction exists, the court must accept all the complaint’s well-pled factual allegations

as true and draw all reasonable inferences in the plaintiff’s favor.” Lockamy v. Truesdale, 182

F.Supp.2d 26, 30 (D.D.C. 2001).

                                                                   Argument

              The Montreal Convention confers jurisdiction upon the following five places for claims

of injury or death arising from international carriage: (1) “the domicile of the carrier”; (2) the

carrier’s “principal place of business”; (3) any state where the carrier “has a place of business


                                                            
1
  The motion is directed at the claims of Thomas Wood (“the Wood Plaintiff”) and Thomas Gaspard (“the Gaspard
Plaintiff”). Thomas Wood is Personal Representative of the Estate of Philip Talmadge Wood, deceased (“Mr.
Wood”). Mr. Gaspard is Personal Representative of the Estates of Rui Wang, Weiwei Jiao, and Shuling Dai, all of
whom are deceased (“the Gaspard Decedents”).
2
   There are, in fact, two Malaysia Airlines Defendants: Malaysian Airlines System Berhad (Administrator
Appointed) (“MAS”) and Malaysia Airlines Berhad (“MAB”). For purposes of this Response, the Plaintiffs refer to
them together as “Malaysia Airlines.”
3
  Convention between the United States of America and Other Governments on Aviation, at S. Treaty Doc. No. 106-
45, May 29, 1999, T.I.A.S. No. 13038 (effective Nov. 4, 2003) (hereinafter the “Montreal Convention”).
4
  The Plaintiffs hereby incorporate the “Facts” and “Parties” Sections from the Plaintiffs’ Response to Malaysia
Airlines’ Motion to Dismiss under the doctrine of forum non conveniens.


                                                                       1 
 
         Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 11 of 56
                                               


through which the contract has been made”; (4) “the place of destination”; or (5) any state “in

which at the time of the accident the passenger has his or her principal and permanent residence

and to or from which the carrier operates services for the carriage of passengers by air, either on

its own aircraft or on another carrier’s aircraft pursuant to a commercial agreement, and in which

that carrier conducts its business of carriage of passengers by air from premises leased or owned

by the carrier itself or by another carrier with which it has a commercial agreement.” See

Montreal Convention, Art. 33(1)-(2) (emphasis added).

         Of these five jurisdictional alternatives, only the Third and Fifth Jurisdictions, as they are

commonly known, are applicable here. Specifically, jurisdiction is proper with respect to Mr.

Wood because he was, at the time of his death, a “principal and permanent” resident of the

United States (Fifth Jurisdiction), and because the United States—specifically Dulles Airport in

Washington, D.C.—is the place where the contract for his ticket was made (Third Jurisdiction).

Likewise, with respect to the three Gaspard Decedents, jurisdiction is proper in the United States

because, like Mr. Wood, the United States is the place where the contracts for their tickets were

made (Third Jurisdiction).

    I.   The Wood Plaintiff has established Fifth Jurisdiction under the Montreal
         Convention

         This Court may lawfully exercise Fifth Jurisdiction over the Wood Plaintiff’s claims

because Mr. Wood’s “principal and permanent residence” at the time of the accident was in the

United States. To establish Fifth Jurisdiction, the Montreal Convention requires a plaintiff to

satisfy the following three elements:

         In respect of damage resulting from the death or injury of a passenger, an action
         may be brought … in the territory of a State Party in which at the time of the
         accident [1] the passenger has his or her principal and permanent residence and
         [2] to or from which the carrier operates services for the carriage of passengers by
         air, either on its own aircraft or on another carrier’s aircraft pursuant to a



                                                   2 
 
               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 12 of 56
                                                                


              commercial agreement, and [3] in which that carrier conducts its business of
              carriage of passengers by air from premises leased or owned by the carrier itself
              or by another carrier with which it has a commercial agreement.

Montreal Convention, Art. 33(2) (emphasis added). In its motion, Malaysia Airlines does not

contend that the Wood Plaintiff has failed to satisfy its burden with respect to either the second or

third elements. That is, Malaysia Airlines concedes that, for purposes of Fifth Jurisdiction under

the Montreal Convention, the United States was, “at the time of the accident,” a place “to or from

which [Malaysia Airlines] operate[d] services for the carriage of passengers by air, either on its

own aircraft or on another carrier’s aircraft pursuant to a commercial agreement, and in which

[Malaysia Airlines] conduct[ed] its business of carriage of passengers by air from premises

leased or owned by [Malaysia Airlines] itself or by another carrier with which it ha[d] a

commercial agreement.” Id.

              The only question here, then, is whether Mr. Wood’s “principal and permanent

residence” at the time of the accident was in the United States or somewhere else. Fortunately,

the Montreal Convention defines the term “principal and permanent residence”:

              For the purposes of paragraph 2, “principal and permanent residence” means the
              one fixed and permanent abode of the passenger at the time of the accident. The
              nationality of the passenger shall not be the determining factor in this regard.

Montreal Convention, Art. 33(3)(b) (emphasis added). Under this definition, the United States

was Mr. Wood’s “principal and permanent residence” at the time of the accident.

              A.             The meaning of “principal and permanent residence”

              All of the available evidence in this case confirms that Mr. Wood intended to return to

live in the United States after his temporary assignments abroad, and that he at all times

continued to view himself, notwithstanding these foreign assignments, as an American.5 N.

                                                            
5
  Malaysia Airlines several times suggests, without citation to any authority, that statements about Mr. Wood’s
intentions would constitute inadmissible hearsay. [ECF 38-1, at 16, 17 & 30]. Of course, this is not the case. As Fed.


                                                                   3 
 
               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 13 of 56
                                                                                     


Wood Decl., at ¶¶ 4, 14 (Ex. 1); C. Wood Decl., at ¶¶ 4, 15 (Ex. 2); E. Wood Decl., at ¶¶ 5, 12

(Ex. 3); T. Wood Decl., ¶¶ 4, 10 (Ex. 4); A. Wood Decl., at ¶¶ 4, 8 (Ex. 5); S. Blaustein Decl., ¶¶

4, 5 (Ex. 6). Indeed, despite the unanimous attestations of Mr. Wood’s family and his employer

to the effect that Mr. Wood never relinquished his intent to return to live in the United States,

Malaysia Airlines has managed, in the year or so since discovery began, to conjure not a single

piece of evidence contradicting or rebutting this intention. Instead, Malaysia Airlines contorts the

language of the Montreal Convention in its efforts to persuade the Court that the phrase

“principal and permanent residence” means, in effect, nothing more than mere “residence.” [ECF

38-1, at 7-9]. And, Malaysia Airlines says, because “principal and permanent residence” is

synonymous, not with “domicile,” but with “residence,” this Court should not consider Mr.

Wood’s intentions in deciding the question of Fifth Jurisdiction. Id. at 7-17. In support, Malaysia

Airlines skips over the words of Article 33 and delves instead into a protracted—and, as

described below, rather selective—analysis of the Convention’s drafting history. But, as the

Supreme Court has instructed many times, “the interpretation of a treaty, like the interpretation

of a statute, begins with its text.” Abbott v. Abbott, 560 U.S. 1, 10 (2010); see also Medellin v.

Texas, 552 U.S. 491, 506 (2008). And, inasmuch as Malaysia Airlines ignores it, the plain text of

Article 33 strongly supports the Wood Plaintiff’s view that the adjectives “principal and

permanent” necessarily qualify the noun “residence.”

              First, Malaysia Airlines’ strained interpretation renders the qualifiers “principal and

permanent,” which were material enough to appear in both Articles 33(2) and 33(3)(b), entirely

superfluous—a crucial flaw the Supreme Court has repeatedly admonished courts to avoid. See

World Holdings, LLC v. Fed. Republic of Ger., 794 F.Supp.2d 1305, 1333 (S.D. Fla. 2011)

                                                                                                                                                                                                
R. Evid. 803(3) makes pellucid, there is an exception to the hearsay rule for “[a] statement of the declarant’s then-
existing state of mind (such as motive, intent, or plan)[.]” (emphasis added).


                                                                                              4 
 
               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 14 of 56
                                                                


(“Treaties should not be interpreted to be superfluous.” (citing Sullivan v. Kidd, 254 U.S. 433,

439 (1921))).6 The Wood Plaintiff’s more natural reading of Article 33, on the other hand,

acknowledges that “principal and permanent residence” must mean something more than mere

“residence”—must mean, in short, something more “permanent,” something like the American

notion of “domicile.” See Choi v. Asiana Airlines, Inc., No. 14-cv-03738, 2015 WL 394198, at

*3 (N.D. Cal. Jan. 29, 2015) (“Courts in the United States have interpreted ‘principal and

permanent residence’ to mean something akin to the concept of “domicile,” which includes an

evaluation of both the objective facts establishing the plaintiff’s actual residence, and the

plaintiff’s subjective intent to remain in that residence.”).

              Second, Malaysia Airlines’ reading of Article 33 ignores wholesale the definition

provided in Article 33(3)(b). As that definition makes clear, “principal and permanent residence”

means “the one fixed and permanent abode of the passenger at the time of the accident.”

Montreal Convention Art. 33(3)(b) (emphasis added). As more than one court has noted, Black’s

Law Dictionary defines a person’s “permanent abode” as a “domicile or fixed home which the

party may leave as his interest or whim may dictate, but which he has no present intention of

abandoning.” Permanent Abode, BLACK’S LAW DICTIONARY 1339 (6th ed. 1990) (emphasis

added). In other words, the words “fixed and permanent abode”—so integral to the Montreal

Convention’s definition of “principal and permanent residence”—are, according to Black’s Law

Dictionary, themselves interchangeable with the word “domicile,” and not with the word




                                                            
6
  See also Regions Hosp. v. Shalala, 522 U.S. 448, 467 (1998) (“As early as in Bacon’s Abridgment, sect. 2, it was
said that ‘a statute ought, upon the whole, to be so construed that, if it can be prevented, no clause, sentence, or word
shall be superfluous, void, or insignificant. This rule has been repeated innumerable times.” (quoting Washington
Marker Co. v. Hoffman, 101 U.S. 112, 115-116 (1879))); U.S. v. Anderson, 15 F.3d 278, 283 (2d Cir. 1994) (“This
conclusion is consistent with the canon of construction that courts will avoid statutory interpretations that render
provisions superfluous.” (citing Nat’l R.R. Passenger Corp. v. Boston and Maine Corp., 503 U.S. 407 (1992))).


                                                                   5 
 
               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 15 of 56
                                                                


“residence.” No less significantly, the dictionary definition of the phrase “permanent abode”

encompasses an assessment of the domiciliary’s “intention.”

              Third, Malaysia Airlines’ interpretation of “principal and permanent residence”

disregards the generally-accepted, and long-recognized, distinction between “residence” and

“domicile.” To quote again from Black’s Law Dictionary: “A person [] may have more than one

residence at a time but only one domicile.” Domicile, BLACK’S LAW DICTIONARY 1335 (8th ed.

2004). Given this distinction, a person’s “one fixed and permanent abode” can refer only to her

“domicile”—which is necessarily singular and permanent—and not to her “residence,” which

countenances a multiplicity of impermanent locales.

              Malaysia Airlines criticizes the Wood Plaintiff for importing extraneous words into the

text of Article 33. [ECF 38-1, at 4-5].7 We have done no such thing. To the contrary, the Wood

Plaintiff’s reading relies only on the text of Articles 33(2) and 33(3)(2). To discern the meaning

of the words in that text, the Wood Plaintiff has done precisely as the U.S. Supreme Court has

repeatedly instructed: We have consulted a dictionary. See Sandifer v. U.S. Steel Corp., 134 S.

Ct. 870, 876-877 (2014); Dastar Corp. v. Twentieth Century Fox Film Corp., 539 U.S. 23, 31-32

(2003). And, as much as Malaysia Airlines might wish it were otherwise, the dictionary

definition of the words “fixed and permanent abode” include the word “domicile.”

              It is, rather, Malaysia Airlines that has unjustifiably injected words into the text of Article

33. To list but one ubiquitous example, Malaysia Airlines draws from whole cloth a dichotomy

between objective and subjective evidence of residence—telling the Court, with a disconcerting

degree of certainty, that Article 33 sanctions only the former and strictly eschews any reliance



                                                            
7
  “The bases on which Plaintiffs premise Montreal Convention jurisdiction in the United States rely on the
importation of words or concepts that are not part of Art. 33.2 of the Convention.” Id.


                                                                   6 
 
               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 16 of 56
                                                                


upon the latter.8 But the Montreal Convention never draws any such distinction—neither in

Article 33 or elsewhere—and Malaysia Airlines points to no treaty, case, or dictionary to support

its contention that this objective/subjective dichotomy is anything but a construct of its own

imaginings.

              B.             The federal cases unanimously support the Wood Plaintiff’s position

              Unsurprisingly, every single federal court in the United States that has analyzed this

question has held that the words “principal and permanent residence” in the Montreal

Convention reflect, not mere “residence,” but something analogous to the American concept of

“domicile.” See Hornsby v. Lufthansa German Airlines, 593 F.Supp.2d 1132 (C.D. Cal. 2009);

In re Air Crash Over Mid-Atlantic on June 1, 2009, 760 F.Supp.2d 832 (N.D. Cal. 2010) (“Mid-

Atlantic”); Choi, 2015 WL 394198, at *3-4.

              In Hornsby, the plaintiff—who, like Mr. Wood here, was a U.S. citizen temporarily

working abroad at the time of the accident—brought suit in the Central District of California

against the defendant, a German air carrier, under the Montreal Convention. 593 F.Supp.2d at

1133. The defendant moved to dismiss the complaint for lack of subject matter jurisdiction. Id. In


                                                            
8
  [ECF 38-1, at 5 (“The sole objective of Plaintiffs’ allegations is to introduce a subjective element into Art.33.2[.]”);
id. at 8 (“Plaintiff could not overcome the objective fact that he was residing in Panama at the time of the events in
question”); id. at 8 (“Under the Montreal Convention, the relevant inquiry is where the passenger actually resided on
the date of the accident and the determination must be made based on objective evidence[.]”); id. at 9 (“Rather, the
objective facts establish that the decedents were all residing in China or Malaysia at the time of the Accident.”); id.
(“The meaning of ‘principal and permanent residence,’ as defined by Article 33.3, is clear and the drafting history
confirms that ‘principal and permanent residence’ must be determined by the objective facts existing at the time of the
accident in question, without reference to a passenger’s subjective intent as to the permanency of that residence.”); id.
at 13 (“Ultimately, the Special Group … agreed that the determination would be based only on objective facts
contemporaneous with the time of the accident[.]”); id. at 15 (“The final definition in Article 33.3(b) was agreed upon
as giving the new concept of ‘principal and permanent residence’ an objective, specific and precise content[.]”); id. at
16 (“The definition of ‘principal and permanent residence’ included in the Convention is clear and must be determined
by reference to specific and objective evidence.”); id. (“Unlike ‘domicile,’ the drafters ensured that ‘principal and
permanent residence’ was defined by reference to a tangible thing—an abode—which can be located based on
objective facts without consideration of any subjective intent.”); id. at 19-20 (“Accordingly, this Court must reject
Plaintiffs’ invitation to consider any evidence other than the objective facts establishing where the decedent was
actually living at the time of the accident.”); id. at 22 (“Plaintiffs have not produced the objective documents and
information necessary[.]”).


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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 17 of 56
                                                                


support, the defendant contended—in an argument Malaysia Airlines has essentially regurgitated

here—that “principal and permanent residence” under the Montreal Convention means nothing

more than “residence.” Id. at 1136-37. Accordingly, the defendant said, the court could not

consider the decedent’s intent to return to the United States in deciding whether the United States

was his “principal and permanent residence.” Id. The court disagreed. After a meticulous

examination of the Montreal Convention’s text, its drafting history, and the minutes of the

ICAO’s meetings,9 the court held that the phrase “principal and permanent residence” was akin

to the American concept of “domicile,” id. at 1137, and that, as such, the decedent’s intent to

return to live in the United States must be an important factor in the court’s analysis. Id. at 1139.

              The court began by acknowledging the long-accepted distinction between the concepts of

“domicile” and “residence.” Id. at 1136 (“A person thus may have more than one residence at a

time but only one domicile.” (citing Domicile, BLACK’S LAW DICTIONARY 1335 (8th ed. 2004))).

Noting that Article 33 uses the phrase “principal and permanent residence,” the court concluded

that “[i]t seems highly unlikely that the words ‘principal and permanent’ are pure surplusage,

added by the drafters of the Montreal Convention simply for decorative purposes.” Id. at 1137.

As the court pointed out, “whatever ‘residence’ on its own may mean, while a relevant starting

point, is not necessarily the same as what ‘principal and permanent residence’ means.” Id. In

fact, the court said, “principal and permanent residence” could not mean mere “residence”

precisely because “under the Montreal Convention, it is not possible to have several ‘principal

and permanent residences’ at a time,” even though “[u]nder the common understanding of the

word ‘residence,’ … it is quite possible to have more than one at a time.” Id. Instead, the court

found persuasive the Montreal Convention’s own definition of “principal and permanent

                                                            
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 “[T]he International Civil Aviation Organization (“ICAO”), International Conference on Air Law, held at Montreal
May 10–28, 1999, … resulted in the final draft of the Montreal Convention.” Id. at 1138.


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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 18 of 56
                                                                


residence” as a party’s “fixed and permanent abode.” Id. Recognizing that the 6th edition of

Black’s Law Dictionary—“which may have been the most up-to-date version available when the

final version of the Montreal Convention was negotiated”—defines “permanent abode” as a

“domicile or fixed home which the party may leave as his interest or whim may dictate, but

which he has no present intention of abandoning,” id., the court determined that “the phrase

‘fixed and permanent abode’ is closer in meaning to the word ‘domicile’ than the word

‘residence.’” Id. Accordingly, the court concluded, “the intent of the party is relevant to

determining his or her ‘fixed and permanent abode.’” Id. By extension, “intent must also be

relevant to the phrase ‘principal and permanent residence,’ which is defined by the Montreal

Convention as ‘fixed and permanent abode.’” Id. at 1137-38 (page number omitted). Indeed, the

court went further, Article 33(2)’s use of the word “permanent” supports the inference that courts

must consider a passenger’s “intent to remain.” Id. at 1138. As the court said:

              This is consistent with the plain meaning of the phrase “principal and permanent
              residence,” in which the key word is “permanent.” As Plaintiff concedes, without
              the word “permanent,” Defendant’s position must prevail. But the Court agrees
              with Plaintiff that the word “permanent” imports some notion of an “intent to
              remain” into the phrase, similar to that inherent in the word “domicile.” As
              Defendant itself explains in its Motion, federal common law regarding “domicile”
              generally provides that one does not abandon one’s domicile simply by physically
              leaving the place; one must move to a new location with the intent to remain
              there.

Id. at 1138.

              The court then addressed and rejected the Hornsby Defendant’s contention—which

Malaysia Airlines recycles here—that the ICAO’s removal of the word “domicile” from a prior

version of Article 33(2) evidenced the drafters’ intent to remove “subjective intent” from the

jurisdictional inquiry. Id. at 1139.10 As the court correctly noted, the minutes of the ICAO’s

drafting history suggest that “the change appears to have been motivated, at least in part, by
                                                            
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      For Malaysia Airlines’ identical argument on this point, please see ECF 38-1, at 11-13.


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        Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 19 of 56
                                             


confusion engendered by the multilingual nature of the negotiations.” Id. In other words, “the

French word ‘domicile,’ despite its orthographic similarity to the American term ‘domicile,’ is

not a direct translation of that term.” Id. Because the word “domicile” meant different things to

different people, the Convention was understandably concerned that its inclusion would cause

similarly situated factual scenarios to be decided differently based only on the forum in which

the dispute was adjudicated. Id. (“Thus, the use of those terms in the identical location had been

producing a non-uniform result in the French and English language versions of the Convention.”

(quotation marks omitted). And to the extent that this incongruity of results was precisely what

the Convention was enacted to avoid, the Convention voted to remove the word “domicile,” not

to excise “intent” from the jurisdictional inquiry, but to fend off confusion. Id. (“Given this

confusion, it is not surprising that the language was changed.”). In short, the court found, far

from “clearly” excluding intent from the jurisdictional analysis [ECF 38-1, at 9-24], “the fact that

the language was changed does not necessarily indicate that the new language in the English

version was intended to have a substantially different meaning.” Id. at 1139.

       One year later, the Honorable Charles Breyer, United States District Court, Northern

District of California, agreed that Article 33(2)’s use of “principal and permanent residence” is

equivalent to the American notion of domicile. Mid-Atlantic, 760 F.Supp.2d at 837-38. As here,

the plaintiffs, who were the representatives of two U.S. citizens killed when an Air France flight

departing from Brazil to Paris crashed in the Mid-Atlantic, filed suit in federal court in California

under the Montreal Convention. Air France—noting that the decedents had been living in Brazil,

that they had been working for a Brazilian affiliate of an American company, and that they had

been paying their taxes in Brazil—moved to dismiss the complaint for lack of subject matter




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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 20 of 56
                                                                


jurisdiction under the Montreal Convention. Id. at 836.11 The issue before the court, as here, was

“the meaning of ‘principal and permanent residence’ and ‘fixed and permanent abode.’” Id. at

837. “If those phrases combine to mean something like ‘domicile’ then Plaintiffs prevail, but if

they combine to mean something like ‘residence’ then Air France prevails.” Id. Air France,

evidently reading from the same playbook as Malaysia Airlines, argued that “principal and

permanent residence” meant nothing more than mere “residence.” After examining the Hornsby

decision, the court came to the same conclusion. In pertinent part, it explained:

              The conclusion drawn by the court in Hornsby makes sense. The word
              “permanent” implies something other than just a determination of where a person
              was living at the time of the accident, and the available drafting history does not
              support the conclusion that the drafters meant to eschew a meaning similar to
              “domicile.” Although there was some disagreement among the delegates about
              including the word “domicile,” and it ultimately was not included, that
              disagreement stemmed from the word’s different meaning in English than in
              French. To avoid confusion, the drafters used the phrase “principal and permanent
              residence,” “[b]ut the fact that the language was changed does not necessarily
              indicate that the new language in the English version was intended to have a
              substantially different meaning [than domicile].” Moreover, treating “principal
              and permanent residence” like “domicile” is consistent with the purpose of the
              fifth jurisdiction—“enhanc[ing] passengers’ rights under the [ ] treaty.”

Id. at 837-838 (citations and page number omitted).

              The court then addressed and rejected each of the three arguments Air France proffered in

support of its position that Hornsby had been wrongly decided—the same three arguments that

Malaysia Airlines has tossed against the wall here. First, Air France cited Seales v. Panamanian

Aviation Co., No. 07-cv-2901, 2009 WL 395821 (E.D.N.Y. 2009), for the proposition that the

phrase “principal and permanent residence” does not mean “domicile.” Id. at 838. But the court,

having read Seales, correctly determined that Seales was inapposite to the question before it

because “Seales did not conduct any analysis of the meaning of ‘principal and permanent
                                                            
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   “Air France sets forth facts that it believes show that the domestic Plaintiffs—representing Mr. and Mrs. Harris
who perished in the crash—cannot invoke the ‘fifth jurisdiction’ because the decedents’ ‘principal and permanent
residence’ ‘at the time of the accident’ was in Brazil, not the United States.” Id.


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        Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 21 of 56
                                             


residence.’  Rather, the [Seales] court simply held that the plaintiff failed to meet his burden of

establishing that his ‘principal and permanent residence’ was in the United States.” Id. Second,

Air France argued that the phrase “at the time of the accident” delimited the relevant scope of the

court’s analysis to the facts as they existed at the time of the accident. Id. Because a passenger’s

future intent to return to the United States was a fact that would have materialized, if at all, at

some point after the accident, Air France cleverly contended that the Montreal Convention

precluded any reference to a passenger’s intentions. The court found this argument

“unpersuasive because the phrase ‘at the time of the accident’ merely tells the court the time

period upon which it should focus in deciding the location of the ‘principal and permanent’

residence. It does not tell the court whether the inquiry amounts to asking where the passenger

was ‘residing’ or instead where the passenger was ‘domiciled.’” Id. Third, straining to find

meaning in its view of the purpose of the Montreal Convention, Air France suggested that the

phrase “principal and permanent residence” could not mean “domicile” because, it said, the

Convention’s drafters intended for a “straightforward, simple test that did not turn on

nationality.” Id. The court, however, found two flaws in Air France’s reasoning:

       First, if the drafters wanted the fifth jurisdiction to turn on where the passenger
       was residing at the time of the accident they could have excluded the words
       “principal and permanent” before the word “residence.” Second, treating
       “principal and permanent residence” like “domicile” does not make the fifth
       jurisdiction turn on nationality.

Id. Accordingly, the court concluded, “based on the evidence that the Harrises were temporarily

living in Brazil while Mr. Harris completed an international work assignment, their ‘principal

and permanent residence’ (their ‘one fixed and permanent abode’) was in the United States at the

time of the crash.” Id.




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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 22 of 56
                                                                


              Malaysia Airlines offers two principal retorts to these holdings. First, it speculates that

“[t]hose decisions may have been made without the benefit or consideration of the complete

drafting history, the overwhelming weight of which establishes that there is no room for

consideration of a passenger’s subjective intent for purposes of determining his or her ‘principal

and permanent residence.’” [ECF 38-1, at 17-18]. But, even if that drafting history suggested

anything of the sort—which it does not—the Supreme Court has repeatedly instructed courts not

to rely on legislative history when the text of a statute or treaty is clear. See Brink’s Ltd. v. South

African Airways, 93 F.3d 1022, 1026-27 (2d Cir. 1996) (“Our interpretation of the Warsaw

Convention must begin ‘with the literal language.’ If the language is ‘reasonably susceptible of

only one interpretation,’ our task of interpretation ends there. We may apply secondary tools of

interpretation only when the treaty text is ambiguous.” (citing Chan v. Korean Air Lines, Ltd.,

490 U.S. 122, 134 (1989) (citation omitted))). And, as Malaysia Airlines time and again

concedes, the text of Article 33 is clear.12 Accordingly, the drafting history of Article 33—upon

which Malaysia Airlines spends the bulk of its analysis—is relatively insignificant here.

              In either event, Malaysia Airlines’ supposition that the Hornsby and Mid-Atlantic Courts

had not reviewed the drafting history of Article 33 is expressly belied by the text of those

opinions. See Hornsby, 593 F.Supp.2d at 1138 (“If the terms of a treaty are ambiguous or

unclear, courts may turn to the negotiation and drafting history of the treaty for guidance. To that

end, Defendant references excerpts from the minutes of the [ICAO] International Conference on

Air Law, held at Montreal May 10–28, 1999, which resulted in the final draft of the Montreal

Convention.”) (emphasis added) (citation omitted); Mid-Atlantic, 760 F.Supp.2d at 838 (“The

word ‘permanent’ implies something other than just a determination of where a person was

living at the time of the accident, and the available drafting history does not support the
                                                            
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     [ECF 38-1, at 9 (“The meaning of “principal and permanent residence,” as defined by Article 33.3, is clear[.]”)].


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          Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 23 of 56
                                               


conclusion that the drafters meant to eschew a meaning similar to ‘domicile.’”) (emphasis

added).

          Second, Malaysia Airlines argues that these decisions are “factually dissimilar to the facts

… at issue here.” [ECF 38-1, at 18]. Malaysia Airlines does not elaborate on this point—

presumably because it recognizes that the respective facts of these cases could have absolutely

no bearing on the legal definition of the words “principal and permanent residence.” In any case,

the salient facts of Hornsby and Mid-Atlantic appear to be on all fours, so to speak, with ours.

After all, Hornsby was an American citizen who was temporarily living and working in Germany

when he was killed in a German plane crash. The Mid-Atlantic Plaintiffs were U.S. citizens who

were temporarily living and working in Brazil when an Air France flight crashed en route from

Brazil to Paris. And Mr. Wood was an American citizen temporarily living and working in

Malaysia when his Malaysian flight crashed en route to China.

          C.     Malaysia Airlines’ legal arguments are unpersuasive

          In the face of all this, Malaysia Airlines can conjure nothing more than the same tired

arguments that two federal courts have addressed and rejected already. First, it says that “[t]he

jurisdictional provisions of Article 33, like the jurisdictional provisions of Article 28 of the

predecessor Warsaw Convention, are restrictive and intended to limit rather than broaden the

permissible jurisdictions available under this international treaty.” [ECF 38-1, at 2]. Second, it

contends that the Eastern District of New York’s decision in Seales somehow stands for the

proposition that a passenger’s intent to return to the United States is not relevant to the

jurisdictional inquiry under Article 33(2). [ECF 38-1, at 7-9]. Third, noting again that the drafters

of the Montreal Convention opted not to use the word “domicile” in Article 33, Malaysia

Airlines argues that Article 33 does not permit courts to consider a passenger’s intent. Id. at 11-




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        Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 24 of 56
                                              


13. Fourth, Malaysia Airlines quotes from the minutes of an early meeting of the Special Group

on the Modernization and Consolidation of the Warsaw System (“Special Group-Warsaw”) for

the proposition that the drafters of the Montreal Convention precluded courts from relying on the

passenger’s intent. Id. at 13. Fifth, it says that the phrase “principal and permanent residence”

necessarily requires courts to ask only where the passenger was actually living at the time of the

accident. [Id. at 15]. Each of these arguments is meritless and should be rejected.

       To begin with, the Montreal Convention intended the Fifth Jurisdiction, not, as Malaysia

Airlines argues, as a limitation, but as an “expansion of jurisdictional choices.” ICAO

Preparatory Material, Report of the First Meeting of the Special Group on the Modernization and

Consolidation of the “Warsaw System,” May 14-18, 1998, at 243 ¶ 2:47 (“Special Group-

Warsaw, First Report”) (Ex. 7). To support its view that Article 33(2) should be read

restrictively, Malaysia Airlines cites to a 1987 case from this Circuit, Boyar v. Korean Air Lines,

664 F.Supp. 1481, 1483 (D.D.C. 1987), that—though relevant to the four jurisdictions under the

Warsaw Convention, see Montreal Convention Art. 33(1)—could not have had anything to do

with the Montreal Convention’s Fifth Jurisdiction, Art. 33(2), which did not become law until

2003. Prior to the Montreal Convention’s enactment, of course, the Warsaw Convention had

restricted a plaintiff’s jurisdictional choices to the four jurisdictions now set out in Article 33(1).

See Warsaw Convention, Art. 28(1). Each of these choices centered around the airline’s contacts.

Article 33(2) of the Montreal Convention, however, created a jurisdictional nexus based on the

passenger’s contacts—that is, the Fifth Jurisdiction. Thus, as Judge Breyer has noted, “the

purpose of the fifth jurisdiction” was to “enhanc[e] passengers’ rights under the treaty,” Mid

Atlantic, 760 F.Supp.2d at 838 (brackets omitted), and not, as Malaysia Airlines contends, to




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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 25 of 56
                                                                


limit or restrict them.13

              Second, Seales did not, as Malaysia Airlines suggests, “recognize[] that ‘principal and

permanent residence’ is specifically defined by the Montreal Convention and means something

distinctly different from the concept of ‘domicile’ as understood under United States common

law for purposes of diversity jurisdiction.” [ECF 38, at 8]. In saying that it did, Malaysia Airlines

wisely does not quote from the Seales opinion itself—does not quote from it because, in fact,

Seales said no such thing. To the contrary, as Judge Breyer explained in Mid-Atlantic, “Seales

did not conduct any analysis of the meaning of ‘principal and permanent residence.’” Mid-

Atlantic, 760 F.Supp.2d at 838. Indeed, neither party in Seales had even briefed the question of

Fifth Jurisdiction. Seales, 2009 WL 395821, at *10. As a result, far from deciding that “principal

and permanent residence” meant, in Malaysia Airlines’ words, “something distinctly different”

from domicile, the Seales “court simply held that the plaintiff failed to meet his burden of

establishing that his ‘principal and permanent residence’ was in the United States.” Mid-Atlantic,

760 F.Supp.2d at 838. In short, Seales has absolutely no bearing here, and Malaysia Airlines’
                                                            
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  This understanding of the Montreal Convention’s expansive scope appears to be widely held. As the Second
Circuit has said:

              Whereas the “primary aim of the contracting parties to the [Warsaw] Convention” was to limit “the
              liability of air carriers in order to foster the growth of the ... commercial aviation
              industry,” Sulewski, 933 F.2d at 184 (internal citations and quotation marks omitted), the contracting
              parties to the Montreal Convention expressly approved that treaty because, among other reasons,
              they recognized “the importance of ensuring protection of the interests of consumers in international
              carriage by air and the need for equitable compensation based on the principle of restitution.”
              Montreal Convention, pmbl. The Senate has similarly recognized that “[t]he new Montreal
              Convention represents the culmination of decades of efforts by the United States and other countries
              to establish a regime providing increased protection for international air travelers and shippers.” S.
              Exec. Rep. No. 108–8, at 2 (2003). Hence, commentators have described the Montreal Convention
              as a treaty that favors passengers rather than airlines. See, e.g., Thomas J. Whalen, The New Warsaw
              Convention: The Montreal Convention, 25 Air & Space L. 12, 14 (2000) (“The Montreal Convention
              is no longer a Convention for airlines. It is a Convention for consumers/passengers.”);
              Batra, supra, at 443 (“the Montreal Convention recognizes the importance of ensuring protection of
              the interests of consumers in international air carriage”).

Ehrlich v. American Airlines, Inc., 360 F.3d 366, 366 n.4 (2d Cir. 2004).




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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 26 of 56
                                                                


attempt to extract some special significance from the case speaks volumes about the state of the

law on this question.

              Third, far from supporting Malaysia Airlines’ contention that the Convention opted not to

use the word “domicile” in order to preclude courts from relying on a passenger’s subjective

intent, the Convention’s drafting history shows that the word was removed because it meant

different things in different languages. In fact, the Convention based its decision to replace the

word “domicile” on the Report of the Rapporteur, which the Rapporteur composed during the

150th Session. 14 In relevant part, that Report noted:

              Use of “domicile” or “ordinary residence” of the carrier should be examined by
              the Legal Committee. Where the authentic text of the Warsaw Convention uses
              the expression “domicile du transporteur” it has been translated as “where the
              carrier is ordinarily resident” in the UK whilst the American translation is
              “domicile of the carrier”. In the Guatemala City Protocol the French wording “si
              le passage a son domicile” appears as “if the passenger has his domicile” in the
              authentic English version. [The Alvor Draft Convention], however, uses
              “domicile” in English in respect of both the carrier and the passenger. This is a
              delicate area requiring detailed consideration and, possibly new definitions for the
              avoidance of doubt and dispute.

ICAO Preparatory Material, Council—150th Session, Mar. 7, 1997, Modernization of the

“Warsaw System”—Rapporteur’s Report and Matters Relating to the 30th Session of the Legal

Committee, Attachment A at 70-71 ¶ 5.4.21 (Ex. 9). By the 154th Session, which occurred one

year later, on May 27, 1998, the Special Group replaced “domicile or permanent residence” with

“principal and permanent residence.” See ICAO Preparatory Material, Council—154th Session,

Modernization of the “Warsaw System,” May 27, 1998, at 124 (Ex. 10). As the Chairman of the

Convention made clear, this change was made, not to remove the notion of subjective intent, but


                                                            
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   The Convention referred the drafting of the text of the Fifth Jurisdiction to the Legal Committee. The Legal
Committee presented a first draft to the Convention. At that point, a Rapporteur was appointed who reviewed and
revised that draft. The Rapporteur then presented a report of his revisions to the Convention. See ICAO Preparatory
Material, Council—150th Session, Rapporteur’s Report and Matters Relating to the 30th Session of the Legal
Committee Mar. 7, 1997, at 49 ¶ 1.2 (Ex. 8).


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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 27 of 56
                                                                


to eliminate the confusion that had surrounded the various definitions each country had attributed

to the word “domicile.” ICAO Minutes, Minutes of the Fourth Meeting, May 19, 1999, at 153 ¶ 2

(statement of the Chairman) (Ex. 11).15 In the end, the change was based upon the

recommendations of the Rapporteur from the 150th Session. See Ex. 10, at 109-10 ¶¶ 1.1-2.1,

124.

              Notably, this was precisely the conclusion of the Hornsby Court after its review of

Article 33(2)’s drafting history. In relevant part, the court explained:

              [The ICAO minutes] suggest[] that the United States may originally have sought
              to use the word “domicile” in the language of the fifth jurisdiction provision,
              which was then changed to “principal and permanent residence” during the
              negotiating process. However, the change appears to have been motivated at least
              in part, by confusion engendered by the multi-lingual nature of the negotiations.
              The French word “domicile,” despite its orthographic similarity to the American
              term “domicile,” is not a direct translation of that term. Thus, the use of those
              terms in the identical location had been producing a non-uniform result in the
              French and English language versions of the Convention. Given this confusion it
              is not surprising that the language was changed. But the fact that the language was
              changed does not necessarily indicate that the new language in the English
              version was intended to have a substantially different meaning.

Hornsby, 593 F.Supp.2d at 1139. Not surprisingly, Judge Breyer, writing one year later in Mid-

Atlantic, arrived at the same conclusion:

              Although there was some disagreement among the delegates about including the
              word “domicile,” and it ultimately was not included, that disagreement stemmed
              from the word’s different meaning in English than in French. To avoid confusion,
              the drafters used the phrase “principal and permanent residence,” “but the fact
              that the language was changed does not necessarily indicate that the new language
              in the English version was intended to have a substantially different meaning
              [than domicile].”

Mid-Atlantic, 760 F.Supp.2d at 837-38 (quoting Hornsby, 593 F.Supp.2d at 1139).


                                                            
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   The Chairman noted “that, on the one hand, there had been an American notion, memorialized in prior
instruments, of ‘domicile’ of the passenger while, on the other hand, there had been the French concept of domicile,
which was also reflected in prior instruments. With great good will on both sides, the Special Group has come up
with ‘principal and permanent residence’, considered by both sides at the time to be a reasonable compromise,
although not an ideal solution from their perspectives.” Id.


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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 28 of 56
                                                                


              Fourth, Malaysia Airlines cites to a portion of the minutes of an early meeting of the

Special Group-Warsaw, which noted the following:

              The ensuing discussion revealed a clear preference not to retain any reference to
              the phrase ‘to which, if absent, for less than three years, he or she intends to return
              as it was believed that the element of “intent” opened the door to too many
              subjective criteria. Furthermore, any attempt to devise a determinative time period
              during which the passenger had to return was considered to be controversial.
              Following a proposal by one delegation, a consensus was reached within the
              Group to indicate that in any future definition the criterion to be used for the
              determination of the passenger’s home be considered on the basis of the facts
              existing at the time of the accident.

Ex. 7 at 244 ¶ 2:53. From this selection, Malaysia Airlines draws two related propositions. First,

it claims that the quoted passage proves that “even at this early stage in the drafting process there

was a consensus that a passenger’s subjective intent with respect to his or her actual residence

could not be considered in the determination of ‘principal and permanent residence’ for purposes

of the fifth jurisdiction.” [ECF 38-1, at 13]. But the selectively cherry-picked perspective of one

small group of drafters—drafters who did not all vote on the final text—long before the Montreal

Convention was enacted cannot supplant the plain meaning of the words that were actually

debated, voted on, and ratified in the final text of the treaty. Chan, 490 U.S. at 134 (rejecting the

use of a treaty’s drafting history in interpreting the unambiguous text of the treaty); Mora v. New

York, 524 F.3d 183, 207 (2d Cir. 2008);16 Marquez-Ramos v. Reno, 69 F.3d 477, 480 (10th Cir.

1995) (quoting Eastern Airlines, Inc. v. Floyd, 499 U.S. 530, 534 (1991));17 Snap-On Tools, Inc.

v. United States, 26 Cl. Ct. 1045, 1070 (1992), aff’d sub nom. Snap-On Tools Corp. v. United

States, 26 F.3d 137 (Fed. Cir. 1994) (citing Burlington Northern R.R. v. Oklahoma Comm’n, 481


                                                            
16
   “The terms in which the Supreme Court has described the interpretive effect of the negotiating and drafting
history of a treaty, the travaux preparatoires, suggest a usefulness that is conditional and secondary to the text and
context of the treaty.” Id.
17
   “[H]is argument … is not based on the Treaty itself, but rather on the legislative history behind the Act. However,
in interpreting a treaty, we do not look first to the legislative history of its implementing act…Where the text is
clear, we interpret as written.” Id.


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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 29 of 56
                                                                


U.S. 454, 461 (1987)).18 After all, the Wood Plaintiff could just as easily—and no less

speciously—quote from a separate paragraph from the minutes of that same meeting of the

Special Group-Warsaw for the proposition that the drafters of Article 33 recognized that the

phrase “permanent home”—an early precursor of “principal and permanent residence”—

incorporated the American concept of “domicile.” See Ex. 7, at 243 ¶ 2:47.19

              In either event, there can be no dispute that the French delegation—the Fifth

Jurisdiction’s primary opponent—understood that the phrase “principal and permanent

residence” incorporated an element of intent. See ICAO Documents, DCW Doc No. 33, Draft

Convention for the Unification of Certain Rules for International Carriage by Air (Presented by

France), May 28, 1999, at 197 (emphasis added) (Ex. 12).20 Fearing the inclusion of this

language, the French delegation insisted upon its removal or, barring that, upon the inclusion of

Article 33(2)’s two additional elements and a clause precluding jurisdiction solely on the basis of

a passenger’s nationality.21 See Hornsby, 593 F.Supp.2d at 1138;22 see also Ex. 7 at 244 ¶ 2:48;23




                                                            
18
   “In the case of interpretation of statutes, legislative history, including any Committee Reports and statements
included in the legislative record, provide only indicia of congressional intent, and may be referred to only in
instances when the statutory terms are ambiguous and the intent is unclear.” Id. 
19
   “[An unnamed delegation] emphasized the need for a compromise which could be found by attempting to devise a
generic, universally applicable term such as ‘permanent home’ that would adequately capture the concepts presently
denoted by the terms ‘domicile,’ ‘permanent residence,’ or ‘ordinary residence.’ This approach was supported by a
large number of delegations.” Id.
20
   “It is to be feared that [“principal and permanent residence”] corresponds to the notion of ‘permanent abode,’ to
which the person concerned intends to return even if he lives elsewhere temporarily.” Id. (emphasis added).  
21
   These additional elements are “to or from which the carrier operates services for the carriage of passengers by air,
either on its own aircraft or on another carrier’s aircraft pursuant to a commercial agreement,” and “in which that
carrier conducts its business of carriage of passengers by air from premises leased or owned by the carrier itself or
by another carrier with which it has a commercial agreement.” Montreal Convention, Art. 33(2).
22
   “[T]here was opposition to the idea of basing jurisdiction solely on a passenger’s nationality. Led by France, this
opposition stemmed from the reluctance of developing countries whose carriers conducted no operations to or in the
United States to agree that such a carrier should be subjected to jurisdiction in the United States any time a U.S.
citizen was injured while traveling on one of the carrier’s planes.” Id. (citation omitted).
23
   “A compromise solution should be guided by the overriding consideration of devising adequate and acceptable
connecting criteria between the passenger and the State of jurisdiction before which the claim is brought as well as
an effective nexus between the air carrier’s commercial presence and the chosen jurisdiction.” Id.


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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 30 of 56
                                                                


ICAO Minutes, Minutes of the Eighth Meeting, May 17, 1999, at 104-105 ¶ 47 (Ex. 13).24 To

placate the French, the Convention, at the behest of the American delegation, ultimately included

these additional elements along with the Article’s final line.25 See ICAO Documents, DCW Doc

No. 12, Draft Convention for the Unification of Certain Rules for International Carriage by Air

(Presented by the United States of America), May 10-28, 1999, at 106-09 (Ex. 14); 26 see also

ICAO Minutes, Minutes of the Thirteenth Meeting, May 25, 1999, at 205 ¶ 16 (Ex. 15);27

Hornsby, 593 F.Supp.2d at 1138.28 This compromise, then, strongly suggests that the French

delegation understood “principal and permanent residence” to include an assessment of the

passenger’s intent, that France objected to the phrase on that ground, but that France ultimately

allowed the phrase to be included anyway—despite, that is, its objectionable meaning—in

exchange for three clauses that have nothing to do with domicile or the passenger’s intent.

              The second argument Malaysia Airlines extracts from the Special Group-Warsaw’s First

Report is that the phrase “at the time of the accident” was intended to prevent courts from

considering a passenger’s intent in the Fifth Jurisdiction analysis.29 Writing in Mid-Atlantic,


                                                            
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   “[P]revious reference had been made to ‘domicile or permanent residence,’ as in … the Guatemala City Protocol.
[The French delegation] expressed concern that the present wording … would make the nationality of the plaintiff a
decisive factor in the acceptance or dismissal of a case and would ultimately create a jurisdictional privilege.” Id. 
25
   That line is: “The nationality of the passenger shall not be the determining factor in this regard.” Montreal
Convention, Art. 33(3)(b).
26
   “The fifth jurisdiction is consistent with general principles of international law, in that it requires significant nexus
between both parties and the forum…. Accordingly, the Special Group draft convention has significant protection
against forum shopping. The fifth jurisdiction applies only where it is the passenger’s ‘principal and permanent
residence,’ and then only if the carrier has a significant presence in that state.” Id.
27
   “The definition [of “principal and permanent residence”] ensured that it was not possible to have several principal
and permanent residences from among which to choose the most convenient one in which to bring an action. The
last sentence had been added in light of the considerable concerns expressed regarding some jurisdictions which
would view nationality as being equivalent to ‘principal and permanent residence.’” Id.
28
   “Thus, the final compromise reached to include a fifth jurisdiction specifically addressed this concern, extending
jurisdiction only over those carriers who ‘operate services’ within a jurisdiction, and noting that the nationality of
the injured party is not alone sufficient to establish jurisdiction.” (citations omitted). Id. 
29
    [ECF 38-1, at 13 (“[Th]e Special Group replaced the phrase ‘in which the passenger has his domicile or
permanent residence’ with the place ‘in which at the time of the accident the passenger has his or her principal and
permanent residence,’ and agreed that the determination would be based only on objective facts contemporaneous
with the time of the accident without consideration of intent to return to a former residence. Thus, the Special Group


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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 31 of 56
                                                                                     


Judge Breyer found this exact argument “unpersuasive because the phrase ‘at the time of the

accident’ merely tells the court the time period upon which it should focus in deciding the

location of the ‘principal and permanent’ residence. It does not tell the court whether the inquiry

amounts to asking where the passenger was ‘residing’ or instead where the passenger was

‘domiciled.’” Mid-Atlantic, 760 F.Supp.2d at 838. Malaysia Airlines does not even attempt to

explain how or why Judge Breyer’s reasoning on this point was flawed.

              Fifth and finally, Malaysia Airlines—again, cribbing from Air France’s playbook—

contends that “the agreement to draft a precise definition of ‘principal and permanent residence’

… was intended to preclude courts from interpreting the fifth jurisdiction by reference to a

passenger’s subjective intent to reside somewhere other than where he or she was actually

residing at the time of the accident in question.” [ECF 38-1, at 15]. But, as Judge Breyer pointed

out in rejecting this very same argument, “if the drafters wanted the fifth jurisdiction to turn on

where the passenger was residing at the time of the accident they could have excluded the words

‘principal and permanent’ before the word ‘residence.’” 760 F.Supp.2d at 838. Again, Malaysia

Airlines makes no effort to prove Judge Breyer wrong.

              Indeed, the facts of Mr. Wood’s case demonstrate just how right Judge Breyer was. After

all, the IBM contract under which Mr. Wood was living and working, first in China and later in

Malaysia, specifically referenced the “temporary”—as opposed to “permanent”—nature of those

assignments. Ex. 16 (Malaysian employment contract). Moreover, each of Mr. Wood’s foreign

assignments had a specific end date—a date that, in short, underscored the impermanence of his

presence abroad. Id.; Ex. 17. IBM itself has submitted a declaration attesting that Mr. Wood’s

foreign assignment in Malaysia was temporary, that IBM always considered Mr. Wood to be a

                                                                                                                                                                                                
specifically tailored the wording of the fifth jurisdiction to highlight the importance of the passenger’s actual
residence at the time of the accident in question.”) (emphasis in original)].


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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 32 of 56
                                                                


full-time employee of IBM-U.S., and that IBM treated Mr. Wood as an American resident. See

Ex. 6 at ¶¶ 4, 5 (Blaustein Decl.). Under Malaysia Airlines’ reading of the statute, however, Mr.

Wood would have been deemed a permanent resident of Malaysia, whether his assignment in

Kuala Lumpur had been two years (as it was) or one—or, for that matter, six months or three

months or even two—so long as he was actually residing in Malaysia at the time of the

accident.30 As this logical extension makes clear, Malaysia Airlines’ reading of the phrase

“principal and permanent residence” strips the adjectives “principal and permanent” completely

out of Article 33(2) and stretches the meaning of the phrase beyond recognition.

              In short, as every federal court that has looked at this question has found, the phrase

“principal and permanent residence” is akin to the American notion of “domicile” and, as such,

requires an assessment of the passenger’s intent to return to the United States.

              D.             Mr. Wood’s domicile was in the United States

              A person’s domicile is her “true, fixed and permanent home and place of habitation. It is

the place to which, whenever [she] is absent, [she] has the intention of returning.” Freidrich v.

Davis, 767 F.3d 374, 377 (3d Cir. 2014) (quoting McCann v. Newman irrevocable Trust, 458

F.3d 281, 286 (3d Cir. 2006), and Vlandis v. Kline, 412 U.S. 441, 454 (1973)). “Domicile is

determined by two factors: physical presence in a state, and intent to remain there for an

unspecified or indefinite period of time.” Prakash v. Am. Univ., 727 F.2d 1174, 1180 (D.C. Cir.

1984). Although “residency is indicative of domicile, it is not determinative.” Naegele v. Albers,

355 F.Supp.2d 129, 134–35 (D.D.C. 2005); see also Shafer v. Children’s Hosp. Soc’y of Los

Angeles, 265 F.2d 107, 121 (D.C. Cir. 1959) (“[D]omicile and residence are two different



                                                            
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  Indeed, as we point out below, Mr. Wood had spent no more than thirty (30) days in Malaysia when he died—
hardly the indicia of permanence. See Ex. 6 at ¶ 27-29.


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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 33 of 56
                                                                


things.”); United States v. Williams, 825 F.Supp.2d 117, 124 (D.D.C. 2011).31 “Indeed, a person

may have multiple residences, but may have only one domicile, and a person may be a resident

of one locality, but be domiciled in another.” Core VCT Plc, v. Hensley, 59 F.Supp.3d 123, 126

(D.D.C. 2014); Williams, 825 F.Supp.2d at 124; Lopes v. Jetsetdc, LLC, 4 F.Supp.3d 238, 241–

42 (D.D.C. 2014). Thus, “a prolonged absence from one’s domicile is not determinative of

abandonment.” Wagshal v. Rigler, 947 F.Supp. 10, 13 (D.D.C. 1996); Core, 59 F.Supp.3d at

125. Notably, “a person’s old domicile is not lost until a new one is acquired.” Lew v. Moss, 797

F.2d 747, 750 (9th Cir. 1986). As such, “courts apply a presumption of continuing domicile, so

that domicile in one place remains until domicile in a new place is established.” Core, 59

F.Supp.3d at 125.32

              This Court’s evaluation of domicile “must be fact-specific.” Wagshal, 947 F.Supp. at 13.

The Sixth Circuit, collecting sources, set out a number of factors that courts should consider in

establishing domicile, including “affidavits of intention, transfer requests, registration for

driver’s licenses, opening bank accounts, addressing tax returns, motive for establishing

domicile, and other physical facts evidencing that the desire to remain will not expire when the

order requiring presence does.” Stifel, 477 F.2d 1116, 1122 (6th Cir. 1973); Hovensa, 652 F.3d at

344; Lew, 797 F.2d at 750; Core, 59 F.Supp.3d at 125. Likewise, this Court has said that

“[i]ndicia of domiciliary status may include a person’s current residence, a sworn declaration of

domicile, ownership of real and personal property, voting registration, bank accounts,

automobile registration, driver’s license and club membership.” Core, 59 F.Supp.3d at 126.


                                                            
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   Residence, Williams held, is “[t]he act or fact of living in a given place for some time, while domicile is a person’s
true, fixed, principal, and permanent home, to which that person intends to return and remain even though currently
residing elsewhere.” Id.
32
   See also Desmare v. United States, 93 U.S. 605, 610 (1876); Washington v. Hovensa, LLC, 652 F.3d 340, 345 (3d
Cir. 2011) (citing McCann, 458 F.3d at 286-87); Acridge v. Evangelical Lutheran Good Samaritan Soc., 334 F.3d
444, 448 (5th Cir. 2003); Gutierrez v. Fox, 141 F.3d 425, 427 (2d Cir. 1998).


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        Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 34 of 56
                                             


       We begin, then, with the presumption that Mr. Wood’s domicile was in the United States.

See McCann, 458 F.3d at 286-87 (“This principle gives rise to a presumption favoring an

established domicile over a new one.”); Core, 59 F.Supp.3d at 125 (“[D]omicile in one place

remains until domicile in a new place is established.”). Malaysia Airlines suggests that this

presumption applies only in diversity cases and not to the question of domicile under the

Montreal Convention. [ECF 38-1, at 42]. But Malaysia Airlines cites not a single source for this

proposition, which, so far as the Plaintiffs have been able to discern, has no basis whatever in the

annals of Montreal Convention jurisprudence. To the contrary, the two applicable Montreal

Convention cases—Hornsby and Mid-Atlantic—readily apply domicile concepts from other

areas of the law to the notion of domicile under the Fifth Jurisdiction. See Hornsby, 593

F.Supp.2d at 1137-1140; Mid-Atlantic, 760 F.Supp.2d at 837- 839. And there is no reason to

believe that this presumption of domicile—alone out of all the other domicile concepts—would

not apply here also.

       In either event, the evidence is overwhelming that Mr. Wood’s domicile was in the

United States. Malaysia Airlines concedes that Mr. Wood was, for the first 47 years of his life,

domiciled in the United States, but says that his domicile changed as soon as he took a

temporary, three-year work assignment in China in January of 2011. [ECF 38-1, at 39]. Here,

again, Malaysia Airlines appears to conflate the concept of “domicile” with its preferred notion

of “residence.” After all, domicile requires an “intent to remain there for an unspecified or

indefinite period of time.” Prakash, 727 F.2d at 1180 (emphasis added). And Mr. Wood only

ever intended to remain in China for three years. In fact, his employment in China had, by the

terms of his contract, a specific end date of December 31, 2014, which was extended until

February 2014 (Ex. 17); his temporary Chinese residence permit had a specific expiration of




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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 35 of 56
                                                                


May 15, 2014 (Ex. 6 at ¶ 8, Ex. 3); his temporary alien employment permit had a specific

expiration of May 19, 2014 (Id. at ¶ 8, Ex. 4); and his lease at the Chinese hotel at which he was

staying expired on January 14, 2014 (Id. at ¶ 9, Ex. 9). Mr. Wood’s intention to remain in China

for a definite period of three years thus could not have altered his domicile because, by

definition, a period of three years is not indefinite or unspecified. Indeed, Mr. Wood’s intention

of remaining no more than three years in China was reified when, in November 2013, he did not

remain in China, but instead sought and obtained a separate, two-year assignment in Malaysia.

[ECF 38-1, at 40].

              Unsurprisingly, Malaysia Airlines—continuing to confuse domicile for residence—

argues that Mr. Wood’s domicile then changed again from China to Malaysia. Id. The airline

says so even though, again, Mr. Wood’s temporary, two-year assignment in Malaysia had a

specifically defined end date of January 1, 2016. [ECF 38-43, at 2 ¶ 3].33 Notably, Mr. Wood’s

IBM-China assignment had to be extended until February 2014 because his IBM-Malaysia

assignment’s original start date of January 2, 2014 was pushed back to February, 10, 2014, so

that Mr. Wood could obtain a temporary work visa. [ECF 38-39]. Mr. Wood then traveled to

Texas at the end of February for ten days for his father, Aubrey’s, birthday, which was on March

1, 2014. Ex. 5 at ¶ 5(f); Ex. 1 at ¶ 6(f); Ex. 2 at ¶ 6(f); Ex. 3 at ¶ 6(f); Ex. 4 at ¶ 5(f). He did not

return to Malaysia until March 4, 2014. Ex. 6 at ¶ 29. In this respect, it is worth noting that Mr.

Wood’s apartment lease in Malaysia did not begin until March 1, 2014 and was set to expire on

February 28, 2016—an end date consistent with the expiration of his temporary work assignment




                                                            
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 “[T]he Employee will be employed by the Employer for a period of 24 months commencing from January 2, 2014
… to January 1, 2016.” Id.


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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 36 of 56
                                                                


in Malaysia.34 Id. at ¶ 11, Ex. 11. Tellingly, then, the country Malaysia Airlines calls Mr.

Wood’s “principal and permanent residence” at the time of the accident was also a country in

which Mr. Wood had spent no more than thirty (30) days35 prior to his death, a country in which

he was living on a temporary work permit and working on a temporary assignment from his

American employer. Id. at ¶¶ 5, 12, 27-29. Again, domicile requires an “intent to remain there

for an unspecified or indefinite period of time.” Prakash, 727 F.2d at 1180 (emphasis added).

              On the other hand, Mr. Wood, an American citizen who had lived in the United States for

his entire life until 2011, continued to center his economic and financial life in the United States

while he was abroad. For example, he continued to file his tax returns in the United States every

year while he was away—a bizarrely complicated and unnecessary hassle for someone who, in

Malaysia Airlines’ telling, had given up his status as an American domiciliary and who had no

intention of returning. See 2011-2013 tax returns, (Ex. 18). Notably, Mr. Wood never sought

permanent residence or citizenship in either China or Malaysia. Mr. Wood also kept, until the

time of his death, a Chase checking account, Account Number xxxxx1486 (Ex. 19); a Chase

savings account, Account Number xxxxxx7687 (Ex. 20); and a Chase credit card, Account

Number xxxxxxx6955 (Ex. 21)—all opened and operated through American banks at American

branches. What is more, at the time of the accident, Mr. Wood owned a 401(k) retirement

account with a balance of one million dollars, Account Number Cxxxxxx9311 (Ex. 22), and he

retained an active brokerage account with Charles Schwab & Co., Account Number xxx4553

(Ex. 23)—both owned and operated in the United States. Notably, all of these accounts were

active at the time of the accident and all of them listed Mr. Wood’s address as 104 Dalton Street,
                                                            
34
   For these reasons, even if this Court were to find that “principal and permanent residence” means something
different than “domicile”—something, say, between domicile and residence—neither Malaysia nor China can be
that “residence” because, by definition, neither was “permanent.”
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   Ex. 6 at ¶ 27-29, Ex. 16.
 


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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 37 of 56
                                                                


Keller, Texas 76248—the home in which Mr. Wood had lived with his wife and children. See

Exs. 19-23.

              Despite his foreign assignment, Mr. Wood also continued to insure virtually every aspect

of his life through American policies with American companies. For example, IBM “funded life

insurance policies for Mr. Wood, which were issued in the United States, and Mr. Wood

designated his two sons as his beneficiaries upon Mr. Wood’s death…. [N]o similar policies

were issued in China or Malaysia because Mr. Wood was only on temporary assignment in

China and Malaysia.” Ex. 6 at ¶ 15.36 Mr. Wood kept a homeowner’s insurance policy on the

family home at 104 Dalton Street, in Keller, Texas, see State Farm Homeowner’s Ins. Policy No.

58B4L1423 (Ex. 24), and he maintained his health insurance policy in the United States through

American insurance companies that had contracted with his American employer. See Cigna card,

Acct. No. 02776E003 (Ex. 26); Ex. 16, at 14. Indeed, this option was left open to Mr. Wood in

his temporary contract with IBM-Malaysia. Ex. 16, at 14. Moreover, according to the State Farm

Mutual Automobile Insurance Company, Mr. Wood was the registered insured on one

motorcycle insurance policy (Policy Number 2441785A1143B), see Ex. 2 at ¶¶ 13, 14, Exs. D &

E, as well as an automobile insurance policy (Policy Number 038644F143L) for three separate

vehicles, all of which Mr. Wood kept in the United States—again, a needless administrative

annoyance, not to mention an unnecessary expenditure of cash, for a man who, Malaysia Airlines

says, never intended to return. Ex. 1 at 13, Ex. C; Ex. 2 at ¶ 13, Ex. C.

              Mr. Wood’s civic and political life were also centered in the United States. Until his

death, Mr. Wood maintained an active voter registration in Texas, see Ex. 27 (voter registration


                                                            
36
   In fact, Mr. Wood maintained four separate life insurance policies in the United States—three life insurance
policies funded by his employer, IBM, Ex. 6 at ¶ 16, Ex. 13 (Prudential Group Universal Life Ins. Policy No.
8413213; Prudential Group Life Ins. Policy, IBM Serial No. 597601; and IBM Travel Accident Insurance); and a
life insurance policy with State Farm. See State Farm Life Ins. Policy No. LF28511338 (Ex. 25).


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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 38 of 56
                                                                


records) & Ex. 41 (Ingram Decl.), kept an active Texas driver’s license, see Ex. 28, and owned a

stake in a commercial property venture located at 530 Silicon Drive, Southlake, Texas 76092.

Ex. 5 (A. Wood Decl.) at ¶ 7, Ex. A. In fact, on February 27, 2013, Mr. Wood applied for and

received a renewal of his Texas driver’s license—again, strange behavior for someone who

intended to abandon his status as an American domiciliary. See Ex. 28 at 22. In addition, Mr.

Wood maintained his membership in the AAA, AARP, and the NRA; he regularly received his

mail at 104 Dalton Street in, Keller, Texas; and he continued to subscribe to a number of

American periodicals, including the Wall Street Journal and IBM Systems Magazine. Ex. 1 at ¶¶

11, 12; Ex. 2 at ¶¶ 11, 12. Moreover, as of his death, Mr. Wood’s registered address with the

Texas Secretary of State was in Texas. See Ex. 27. Indeed, although Mr. Wood and his wife

divorced in 2013, he regularly visited Texas during his temporary assignments abroad and, when

he did so, his relationship with his ex-wife and their two sons, Nick and Chris, remained so close

that he continued to stay at the family home at 104 Dalton Street. Ex. 1 at ¶ 7; Ex. 2 at ¶ 7; Ex. 3

at ¶ 7; Ex. 4 at ¶ 6; Ex. 5 at ¶ 6.37 In this respect, we note that all of Mr. Wood’s family remained

in Texas while he was away, including both of his parents, his brother, Thomas—the Plaintiff

here whom Mr. Wood, in his last will and testament, named the personal representative of his

estate—and his two beloved sons, to whom Mr. Wood had assigned the benefits of his estate and

his life insurance policies. No less important, Mr. Wood kept the bulk of his personal property at

either the family home in Keller, Texas, or, for larger items, in a storage facility in Texas. See

Ex. 1 at ¶¶ 8-10; Ex. 2 at ¶¶ 8-10; Ex. 3 at ¶¶ 10-11; Ex. 4 at ¶¶ 7-9.38 Mr. Wood continued to

                                                            
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   Malaysia Airlines incorrectly claims that Mr. Wood and his ex-wife sold the home when they divorced. [ECF 38-
1, at 29]. This is not true. In fact, Mr. Wood gave the home to his ex-wife as part of the divorce so that she and their
two sons could live there while he was away. See Ex. 3 at ¶ 9, Exs. A & B.
38
   “This storage unit contained many of his clothes, a number of expensive watches (including Rolexes), some
important family memorabilia (for example, a sign from his grandfather’s car dealership), his personal artwork and
journals kept since childhood, his personal Bible, his guns, his ammunition, all of his welding equipment, all of his
tools (including a tabletop saw), large amounts of gold bullion, and deposits of cash he had saved up over the years.


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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 39 of 56
                                                                                     


pay the fees on this storage unit until his death—powerful proof that he intended to return to the

United States. Ex. 1 at ¶ 10; Ex. 2 at ¶ 10; Ex. 4 at ¶ 9. Finally, upon his death, Mr. Wood’s

estate was duly opened and probated in Texas. Ex. 29 (probate documents).

              All of this, of course, is in addition to the unanimous attestations of Mr. Wood’s sons, his

father, and his brother to the effect that Mr. Wood always considered himself, until his death, an

American; that Mr. Wood never established himself as a domiciliary of any other country; and

that Mr. Wood always intended to return to live in the United States after his temporary foreign

assignments abroad. See Exs. 1-5. Indeed, even Mr. Wood’s employer, IBM, has confirmed that

Mr. Wood’s assignment abroad was only a temporary one, that IBM always intended for Mr.

Wood to return to the United States after his temporary foreign assignment, and that it at all

times considered Mr. Wood to be an American employee. See Ex. 6 at ¶¶ 4, 5.39

              Against all this, Malaysia Airlines can point only to a single bank account that Mr. Wood

maintained in China from 2011-2012. [ECF 38-1, at 28]. Of course, the Wood Plaintiff does not

deny that Mr. Wood was living in China during this time, nor do we disagree that, while living in

China, Mr. Wood was undoubtedly eating Chinese food, taking Chinese transportation, using

Chinese bathrooms, and spending Chinese money. Given all this, Mr. Wood’s decision to open a

Chinese bank account appears only sensible. But this one account cannot predominate over the

many banking, brokerage, automobile, and insurance accounts Mr. Wood kept in the United

States while he was away. After all, the goal in this “fact-intensive” inquiry into Mr. Wood’s

domicile is to locate his “center of business, domestic, social, and civic life.” Hovensa, 652 F.3d


                                                                                                                                                                                                
According to his last will and testament, the items in this storage unit were worth approximately $80,000.” Ex. 1 at ¶
10, Ex. B; Ex. 2 at ¶ 10, Ex B; Ex. 4 at ¶ 9, Ex. B.
39
   Malaysia Airlines suggests that these statements of intent cannot override the “objective facts” with which those
statements are in conflict. [ECF 38-1, at 21-22]. This may be true so far as it goes. But, as we have shown, the
“objective facts” in this case support, rather than detract from, the Wood Plaintiff’s position that Mr. Wood never
gave up his status as an American domiciliary.


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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 40 of 56
                                                                


at 344. In any event, Mr. Wood’s 2013 U.S. Tax Return shows that, by then, Mr. Wood had

closed his only foreign account. See Ex. 18. Accordingly, “at the time of the accident”—the only

relevant time for purposes of this analysis—all of the checking, security, brokerage, insurance,

automobile, and savings accounts Mr. Wood owned were in the United States.

              Indeed, despite having had more than one year in which to conduct discovery, Malaysia

Airlines has not shown that Mr. Wood ever owned a home either in China or in Malaysia;40 that

he ever owned or leased a car in China or Malaysia; that he ever registered to vote in China or

Malaysia; that he ever took out a life insurance policy in China or Malaysia; that he ever sought

or obtained a retirement plan or account in China or Malaysia; that he ever bought insurance for

a car in China or Malaysia; that he ever sought or obtained health or long-term care insurance in

China or Malaysia; that he ever joined a single civic or political organization in China or

Malaysia; that he ever invested in a commercial real estate venture—or in any venture of any

kind—in China or Malaysia; that he ever sought or obtained a driver’s license in China or

Malaysia; that any member of his family ever lived in China or Malaysia; that he ever sought or

obtained Chinese or Malaysian citizenship; or that, at the time of the accident, he owned any

checking, security, brokerage, savings, or investment accounts in China or Malaysia.

              In short, of the factors listed by this Court as relevant to the domicile analysis—“current

residence, a sworn declaration of domicile, ownership of real and personal property, voting

registration, bank accounts, automobile registration, driver’s license and club membership,”

Core, 59 F. Supp. 3d at 126—only the first, “current residence,” was outside of the United

States. To the extent that “principal and permanent residence” must mean something more than

                                                            
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   Tellingly, while Mr. Wood was living in China, he was staying at the Kempiniski Hotel Beijing Lufthansa Center
with an address of Beijing Lufthansa Center No. 50 Liangmaqiao Road, Chaoyang District 100125, P.R.C. Ex. 6 at
¶ 9, Ex. 9. And, as Malaysia Airlines concedes, there is no evidence whatsoever that Mr. Wood had bought a home
in Malaysia either. In any event, under the terms of his contracts, all of Mr. Wood’s foreign housing expenses were
paid, not out of his own pocket, but by his American employer. Id. at ¶ 10-11, Exs. 6 & 10.


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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 41 of 56
                                                                


mere residence, this is surely not sufficient.41 Indeed, of the factors deemed relevant by the Sixth

Circuit Court of appeals—“affidavits of intention, transfer requests, registration for driver’s

licenses, opening bank accounts, addressing tax returns, motive for establishing domicile, and

other physical facts evidencing that the desire to remain will not expire when the order requiring

presence does,” Stifel, 477 F.2d at 1122—not one suggests that Mr. Wood ever changed his

domicile from the United States to either China or Malaysia.

              To summarize, then, Mr. Wood’s “principal and permanent residence” at the time of the

accident—as ever—was in the United States.

    II.       The Wood and Gaspard Plaintiffs have established Third Jurisdiction

              This Court may lawfully exercise Third Jurisdiction over the Wood and Gaspard Cases

because (1) the contracts between Malaysia Airlines and, respectively, the Wood and Gaspard

Decedents were made in the United States, and because (2) Malaysia Airlines had a place of

business in the United States. Under Article 33(1) of the Montreal Convention, a plaintiff may

seek wrongful death damages against an international air carrier “in one of the State Parties …

where [the defendant] has a place of business through which the contract has been made” (Third

Jurisdiction). Malaysia Airlines argues that the Wood and Gaspard Plaintiffs have failed to

establish Third Jurisdiction because the “place of business through which the contract has been

made” can only be the location “where MAS accepts the offer and issues the E-Ticket number—

not when (or where) the acceptance is received by the passenger.” [ECF 38-1, at 52]. But

Malaysia Airlines’ position is contradicted by basic tenets of contract law, flies in the face of a

federal court decision, and is belied by the drafting history of Article 33. Malaysia Airlines’

motion should be denied.
                                                            
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  While Mr. Wood had been away from home for three years when he died, this Court has pointed out that “a
prolonged absence from one’s domicile is not determinative of abandonment.” Core, 59 F.Supp. at 12 (quoting
Wagshal, 947 F.Supp. at 13).


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        Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 42 of 56
                                            


       A.      The Decedents’ offers were accepted in the United States

       “A contract ‘... is held to be made in the place wherein the last act occurs necessary to

make the contract binding.’” In re Auto-Train Corp., 9 B.R. 159, 161–62 (Bankr. D.D.C. 1981).

The last act necessary for the formation of a contract occurs “at the place where the acceptor

speaks or otherwise completes his manifestation of assent.” Restatement (Second) of Contracts §

64(c). Because the Wood and Gaspard Plaintiffs’ offers to purchase airline tickets were accepted

in the United States by United States travel agents, the contracts of carriage for their tickets

“were made” in the United States. Accordingly, Third Jurisdiction is proper in the United States.

       For example, Mr. Wood, while in Malaysia, booked his ticket for Flight MH370 through

the American Express user interface system. See Ex. 6 at ¶ 18. At the time Mr. Wood bought his

ticket, American Express used a computerized reservation system (“CRS”) for its bookings

called Apollo CRS. Id. at ¶ 19. The Apollo CRS is owned and operated by Travelport Global

Distribution System B.V., and Travelport L.P. (collectively “Travelport”), d/b/a Galileo

International Partnership (hereinafter “Galileo”). [ECF 38-54, at 6 ¶ 20]. Mr. Wood’s Itinerary

Receipt included the following International Air Transport Association (“IATA”) code: “RLOC

1V – LDHCWC.” See Ex. 30 (Wood itinerary receipt). According to Malaysia Airlines, “[t]he

IATA code assigned to the GDS company Travelport d/b/a Galileo International is ‘1V’ and any

Itinerary Receipt evidencing a booking request or flight reservation request arranged and

transmitted to [Malaysia Airlines] through Galileo is also assigned Record Locator identified on

the Itinerary Receipt as ‘RLOC 1V.’” [ECF 38-54, at 6 ¶ 20]. In simple English, Mr. Wood

purchased his ticket for Flight MH370 through Galileo’s system.

       In addition, Apollo’s CRS assigned Mr. Wood’s reservation the following electronic

code: “5UL – AMEX GLOBAL TVL IAD.” See Ex. 6 at ¶¶ 20-22. The code “5UL” is a “Pseudo




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        Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 43 of 56
                                            


City Code,” which indicates that Mr. Wood’s “ticket was issued from the United States on the

Apollo CRS through American Express.” Id. at ¶ 23. The code “IAD” indicates that the ticket

was issued through a server system at Washington Dulles International Airport in the United

States. Id. at ¶ 24. Finally, the electronic file indicates that Malaysia Airlines acknowledged Mr.

Wood’s reservation on January 8, 2014, at 5:54 AM MYT, through a server at Hartsfield-

Jackson Atlanta International Airport—also in the United States. See Ex. 31 (Wood “Journey

Details”). In short, the electronic evidence shows that, although Mr. Wood was physically in

China when he reserved his ticket, he purchased his ticket through an American travel agency,

which issued his ticket from a server in the United States, after which Malaysia Airlines

acknowledged the reservation—again, through a server system in the United States.

       Likewise, on December 14, 2013, while they were in China, the Gaspard Decedents—

Rui Wang, Shuling Dai, and Weiwei Jiao— booked their tickets for Flight MH370 through

Orbitz Worldwide, LLC (“Orbitz”), an online travel agency headquartered in Chicago, Illinois.

See Ex. 32 (Gaspard Orbitz reservation). At the time the Gaspard Decedents booked their

tickets, Orbitz used the Worldspan CRS. See Ex. 33 (Gaspard Itinerary Receipt). The Worldspan

CRS, like the Apollo CRS, was owned and operated by Travelport. The Gaspard Decedents’

Itinerary Receipt included the following IATA code: “RLOC 1P – 2HZC29.” See Ex. 33.

According to Malaysia Airlines, “[t]he IATA code assigned to the GDS company Travelport

d/b/a Worldspan is ‘1P’ and any Itinerary Receipt evidencing a booking request or flight

reservation request arranged and transmitted to [Malaysia Airlines] through Galileo is also

assigned Record Locator identified on the Itinerary Receipt as ‘RLOC 1P.’” [ECF 38-54, at 6 ¶

19-20]. Put simply, the Gaspard Decedents, like Mr. Wood, purchased their tickets for Flight

MH370 through Galileo’s system.




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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 44 of 56
                                                                


              In addition, the Gaspard Decedents’ Itinerary Receipt indicates that their tickets were

issued by Orbitz out of Chicago, Illinois. See Ex. 33 at 1 (Gaspard “Itinerary Receipt”). What is

more, the “Journey Details” Malaysia Airlines provided to the Plaintiffs with respect to the

Gaspard Decedents’ tickets indicate that Malaysia Airlines acknowledged the reservations on,

respectively, December 14, 2013, February 21, 2014, March 1, 2014, and March 7, 2014,42

through a server at Hartsfield-Jackson Atlanta International Airport—also in the United States.

See Ex. 34 (Gaspard “Journey Details”). In short, the electronic evidence shows that, although

the Gaspard Decedents were physically in China when they reserved their tickets, they

purchased their tickets for Flight MH370 through an American travel agency, which issued the

tickets from a server in the United States, after which Malaysia Airlines acknowledged the

reservation through a server system in the United States. As this Court has said, “in most

situations, the place that the ticket is issued is also the place where the mutual consent of the

parties or the sale and purchase of transportation occurs.” Boyar, 664 F.Supp. at 1485 (quotation

marks omitted).

              Despite the fact that the tickets were issued in the United States through American travel

agencies—and despite Malaysia Airlines’ acknowledgement of the reservations through a server

system in the United States—Malaysia Airlines argues that the contracts for those tickets were

made in Malaysia because, it says, Malaysia is where Malaysia Airlines accepted the passengers’

offers. [ECF 38-1, at 40]. In support, Malaysia Airlines offers the declaration of its own

employee for the proposition that Malaysia Airlines has the authority to accept or reject any

ticket Galileo issues on its behalf. [ECF 38-54, at ¶¶ 8-9 (Decl. of Alpa Devi Panalal)].43


                                                            
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     The multiple dates likely results from the fact that the Gaspard Decedents purchased four tickets.  
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     In pertinent part, Panalal says:



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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 45 of 56
                                                                                     


              But the terms of the agreement between Malaysia Airlines and Galileo suggest

otherwise—suggest, in fact, that Malaysia Airlines had no authority to reject these reservations.

On December 9, 1993, Malaysia Airlines and Galileo entered into the Galileo International

Global Airline Distribution Agreement (“GIGADA”). See Ex 35 (filed under seal). At the time

of the GIGADA, Galileo owned the Apollo CRS through which Mr. Wood booked his ticket for

Flight MH370. In a letter to Malaysia Airlines dated January 29, 2009, Travelport notified

Malaysia Airlines that Galileo had been renamed Travelport, and that the GIGADA would

thereafter be referred to as the Travelport International Global Airline Distribution Agreement

(“TIGADA”).44 See Ex. 36 (filed under seal). In addition, Travelport informed Malaysia Airlines

that, in the TIGADA, it would “continue to honour the terms and conditions” of the GIGADA.

Id. In short, the TIGADA, originally called the GIGADA, was binding on January 7, 2014, when

Mr. Wood purchased his ticket for Flight MH370. See Exs. 30 (Wood “Itinerary Receipt”) & 31

(Wood “Journey Details”).

              The TIGADA was also binding on December 14, 2013, when the Gaspard Decedents

purchased their tickets for Flight MH370. In the same letter dated January 29, 2009, Travelport

notified MAS that it had consolidated the Worldspan CRS into the Travelport GDS. See Ex. 36

(filed under seal). Thirteen months later, in a letter dated February 26, 2010, Travelport

                                                                                                                                                                                                
              Upon Receipt of a booking request or flight reservation request, the MAS reservation system must
              first determine whether to accept or reject the request by confirming whether the proposed
              booking/reservation is still within the booking capacity of the particular flight(s) such that MAS
              can agree to perform the transportation subject to applicable rules and conditions.

              If MAS’s reservation system confirms capacity for the proposed booking/flight reservation (and
              when the booking/flight reservation request is accompanied by payment information), MAS will
              accept the offer and MAS’s reservation system will communicate the acceptance by transmitting a
              MAS Record Locator associated with the booking and E-Ticket number created in the MAS
              reservation system in Malaysia.

[ECF 38-4, at ¶¶ 8-9].
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   Malaysia Airlines disclosed both the GIGADA and the TIGADA in response to the Plaintiffs’ requests for
jurisdictional discovery.


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         Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 46 of 56
                                              


confirmed that any Malaysia Airlines bookings made on the Worldspan CRS after February 28,

2010 would be subject to the terms and conditions of the TIGADA. See Ex. 37 (filed under seal).

In other words, the TIGADA was binding at the time the Gaspard Decedents purchased their

tickets for Flight MH370 through Orbitz, which used the Worldspan CRS. See Exs. 33, 34, 36 &

37. Under the TIGADA, MAS agreed to:

        C. [P]articipate in every CRS in which Galileo International has a direct or
        indirect ownership interest in every country in which services of such a CRS are
        offered ….

        ….

        I. [Malaysia Airlines] shall not reject a booking that has been made through the
        [Travelport] System where [Malaysia Airlines’] System has not responded to the
        [Travelport] System within twelve (12) hours of the message origination, even
        though overbooking may result therefrom and denied boarding compensation may
        be required.

        J. [Malaysia Airlines] shall not reject a booking for a passenger that has been
        made in the [Travelport] System where that booking has been made via an
        optional service described in Schedule 6, 7, 11, or 12.

        L. [A]ccept a ticket for transportation at the fare shown on that ticket provided
        that the ticket was automatically issued by a Galileo … Subscriber location
        outside Europe at a fare consistent with the data in the System at the time of its
        automatic issuance, so long as the booking related to that ticket has not been
        altered in any material respect as to affect directly the fare quotation since the date
        of the automatic issuance.

Ex. 35, at 6 ¶ 3 (emphasis added). Importantly, the TIGADA contained a “Governing Law”

provision, which provided that any dispute under the agreement would be governed by the laws

of Illinois. Id. at 17 ¶ 21.

        The TIGADA also included an attachment of various “Schedules”—each with its own

series of additional terms—in which Malaysia Airlines could choose to participate. Malaysia

Airlines elected to participate only in Schedules 6 (“Interactive Display”), 7 (“Last Seat




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         Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 47 of 56
                                              


Availability”), 11 (“Interactive Sell”), 15 (“Servicing Facility via Airline Servicing Terminal”),

and 21 (“Participant Briefing”). Id. at 29-31. Notably, Schedule 11 provides:

        Interactive Sell refers to the functionality whereby, when a sell transaction is
        being made for [Malaysia Airlines’] services using the [Travelport] System, a real
        time query of [Malaysia Airlines’] inventory is simultaneously transmitted by the
        [Travelport] System via a computer-to-computer communications capability
        between the [Travelport] System and [Malaysia Airlines’] System, with immediate
        confirmation or response required from [Malaysia Airlines’] System.

Id. at 49 ¶ 1 (emphasis added). In selecting Schedule 11, Malaysia Airlines decided to forego

Schedule 12, titled “Positive Acknowledgment,” which provides:

        1. General. Positive Acknowledgment refers to the functionality by which, upon
        completion of a Booking File, [Malaysia Airlines’] System will return its Record
        Locator to the [Travelport] System in order to confirm that a booking or change to
        a booking has been received and recorded in [Malaysia Airlines’] System.

        2. Responsibilities of Galileo International.

        A. The [Travelport] System will, upon completion of a new or amended Booking
        File containing [Malaysia Airlines’] flights, send a message to [Malaysia
        Airlines’] System using an action/advice code agreed upon by [Malaysia Airlines]
        and Galileo ….

        B. Where, after a pre-determined period, the [Travelport] System still has not
        received the Record Locator response from [Malaysia Airlines’] System, the
        [Travelport] System may send an automatic message to [Malaysia Airlines’]
        System requesting the Record Locator.

        3. Responsibilities of [Malaysia Airlines].

        A. Upon completion of a new or amended [Passenger Name Record], resulting
        from a message received from the [Travelport] System, [Malaysia Airlines’]
        System will transmit to the [Travelport] System a confirmation in the form of
        [Malaysia Airlines’] Record Locator in a format determined by Galileo[.]

Id. at 51.

        Malaysia Airlines chose to participate in Schedule 11, which required the booking to be

made “with immediate confirmation or response” from Malaysia Airlines’ system, rather than

Schedule 12, which allowed Malaysia Airlines to confirm flight reservations with a Record



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        Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 48 of 56
                                              


Locator response. Id. at 49 ¶ 1. Importantly, under the terms of the TIGADA, this “immediate

confirmation” of the booking is accomplished via a “computer-to-computer” query from

Travelport’s system to Malaysia Airlines’ system for the sole purpose of permitting Travelport,

prior to issuing the ticket, to confirm that space on the flight is available. Id. at 49. Accordingly,

the “immediate confirmation” occurs without any affirmative action—either acceptance or

rejection—from Malaysia Airlines. Indeed, the TIGADA requires Malaysia Airlines to “accept a

ticket for transportation at the fare shown on that ticket provided that the ticket was

automatically issued by a Galileo … Subscriber location outside Europe at a fare consistent with

the data in the System at the time of its automatic issuance, so long as the booking related to that

ticket has not been altered in any material respect as to affect directly the fare quotation since the

date of the automatic issuance.” Ex. 35 at 5-6 ¶ 3 (emphasis added). And, as noted, the TIGADA

makes clear that “[Malaysia Airlines] shall not reject a booking for a passenger that has been

made in the System where that booking has been made via an optional service described in

Schedule … 11[.]” Id. (emphasis added). Malaysia Airlines, as we have shown, agreed to

participate in the “optional service described” in Schedule 11.

       In other words, Mr. Panalal’s declaration that Malaysia Airlines can choose whether to

accept or reject a passenger’s booking is directly contradicted by the express language of both

Schedule 11 and Paragraphs 3(J) and 3(L) of the TIGADA. Id. at 49 ¶ 3. Indeed, because the

TIGADA require immediate confirmation from Malaysia Airlines’ computer system, any

acceptance” by Malaysia Airlines was merely perfunctory—a foregone conclusion required, as

such, by the TIGADA. For all practical purposes, then, the Wood and Gaspard bookings were

actually “accepted” by Malaysia Airlines’ agents in the United States—American Express and

Orbitz, respectively—who, after using an American computer system to query Malaysia




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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 49 of 56
                                                                


Airlines’ system to make sure there were seats available on the flight, then confirmed the

reservation in the United States and issued the tickets from servers located in the United States.

See Exs. 30, 31, 33 & 34.45

              To summarize, then, the Wood and Gaspard contracts were made in the United States

because the Decedents made their offers through American travel agencies whose servers were

located in the United States, because those offers were accepted by those travel agencies in the

United States, because Malaysia Airlines acknowledged those reservations from servers in the

United States, and because the travel agencies then issued those tickets in the United States.46

              B.             The acceptance of the Decedents’ offers was manifested in the United States

              Even if this Court were to find that Malaysia Airlines, rather than its agents, accepted the

Wood and Gaspard bookings from Malaysia, those contracts were still made in the United States

because that acceptance was manifested in the United States. See Slobojan v. United States, 136

Ct. Cl. 620, 626 (1956)47; Restatement (Second) of Contracts § 64(c).48

              As we have shown, the American Express system, using the Apollo CRS, communicated

to Mr. Wood its confirmation of his booking request—that is, manifested the acceptance of his

offer—from a server in Washington, D.C. Similarly, Orbitz, through the Worldspan CRS,

communicated to the Gaspard Decedents its confirmation of their booking requests from a server

in Chicago, Illinois. Whatever Malaysia Airlines did—and, as noted above, it did precious

                                                            
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   Again, “in most situations, the place that the ticket is issued is also the place where the mutual consent of the
parties or the sale and purchase of transportation occurs.” Boyar, 664 F.Supp. at 1485 (quotation marks omitted).
46
   To the extent that there is some disagreement about what the terms of the TIGADA mean—or about how the
TIGADA works—that conflict should be construed in the Plaintiffs’ favor. Companhia Brasileira, 887 F.Supp.2d 9,
15 (D.D.C. 2012) (“When reviewing a motion to dismiss for lack of jurisdiction, a court must review the complaint
liberally, granting the plaintiff the benefit of all inferences that can be derived from the facts alleged.”); accord
Johnson, 748 F.Supp.2d at 8; Lockamy, 182 F.Supp.2d at 30.
47
   “[I]t is necessary that acceptance of the offer be communicated to the offerer before a valid and binding contract is
made.” Id.
48
   “[A] contract is created at the place where the acceptor speaks or otherwise completes his manifestation of
assent.”) (emphasis added); accord In re Auto-Train, 9 B.R. at 161–62 (“A contract is held to be made in the place
wherein the last act occurs necessary to make the contract binding.”) (quotations omitted).


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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 50 of 56
                                                                


little—it never manifested, communicated, or spoke a word to the Decedents. At most, if

Malaysia Airlines’ version of the facts is to be believed, Malaysia Airlines communicated its

acceptance to its agents in the United States, and then those agents communicated that

acceptance to the Decedents from the United States.49 After all, had Malaysia Airlines’ American

agents not communicated their acceptance of the booking requests to the Decedents, the

Decedents would not have known of the acceptance and no contract would have been formed.

Slobojan, 136 Ct. Cl. at 626.50 Accordingly, because the acceptances were manifested to the

Decedents from the United States—and because, prior to those manifestations, no contracts

existed—the Wood and Gaspard contracts necessarily were made in the United States.

              C.             The case law supports the Plaintiffs’ position

              The Second Circuit’s decision in Eck v. United Arab Airlines, 360 F.2d 804 (2d Cir.

1966), confirms that Third Jurisdiction is appropriate in the United States because (1) the Wood

and Gaspard Decedents’ tickets were issued by Malaysia Airlines’ agents in the United States

and because (2), at the time of the accident, Malaysia Airlines operated a ticketing office in the

United States.51 In Eck, the plaintiff was set to travel from Los Angeles to Europe for a ski trip.

Id. at 807. The plaintiff’s arrangements were handled by the ski association. Id. Before departing

from Los Angeles to Europe, however, the plaintiff decided to take advantage of her time in

Europe by purchasing an additional trip to the Middle East. While in Los Angeles, then, the

plaintiff bought a series of tickets through Scandinavian Airlines System’s (“SAS”) California

                                                            
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   That the Decedents were located outside of the United States when they booked their tickets is not relevant since
the focal point is “the place where the acceptor speaks.” Restatement (Second) of Contracts § 64(c) (1981).
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   “[I]t is necessary that acceptance of the offer be communicated to the offerer before a valid and binding contract is
made.” Id.
51
   Malaysia Airlines concedes that it leased office space in the United States for the purpose of making flight
reservations. See Def.’s First Supp. Resp. to Gaspard Interrog., at 9 (“MAS also operates a ticket office from leased
space located at 909 N. Sepulveda Boulevard, Suite 100, El Segundo, California 90245 during 2014 until 31 August
2014.”); see also Ex. 38 (Lease Agreement with Kilroy Realty) (filed under seal).
 


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        Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 51 of 56
                                              


office, which had Zurich as both the place of departure and destination. Id. The ticket had eight

other European cities as stopping places, including Jerusalem and Cairo. Id. The Jerusalem to

Cairo portion of the plaintiff’s side trip was provided by United Arab Airlines (“UAA”). Id. This

UAA flight crashed, and the plaintiff was seriously injured. Id. The procedures by which the

ticket was issued confirmed that UAA accepted the booking in Cairo—precisely what Malaysia

Airlines claims it did in Malaysia here:

       [The SAS clerk in California] sold [plaintiff] reserved space on an appropriate
       [UAA] flight and collected the fare. SAS then contacted the home office of UAA,
       located in Cairo, in order to confirm this reservation, thereby avoiding the
       confusion of duplicate or conflicting reservations. Finally, SAS made
       arrangements to forward to UAA the fare it had collected.

Id. Importantly, UAA also had ticketing offices in the United States, but neither was involved in

the sale of the plaintiff’s ticket. Id. The court found that “UAA might have decided to channel all

ticket purchases through one of its offices in the United States, but it did not.” Id. at 808. Instead,

it chose to confirm all reservations through its Cairo office. Id. On appeal, UAA claimed that

jurisdiction was improper under the Warsaw Convention because “the contract between

[plaintiff] and UAA was made through the Oakland office of SAS and directly confirmed by

UAA’s Cairo office.” Id. at 813. The court disagreed. Id.

       As a preliminary matter, the court noted that the Third Jurisdiction “clearly manifests the

[Warsaw Convention] framers’ intention to permit, at least in some cases, the maintenance of

suit in the courts of the country where the ticket was purchased.” Id. It was also clear that the

provision was meant “to prevent the maintenance of suit in the courts of the country where the

ticket was purchased if the airline has no ticketing and booking office there.” Id. The “close

question,” however, was “whether this provision prevents the maintenance of suit in the courts of

the country where the ticket was purchased, when the airline has a place of business in that




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        Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 52 of 56
                                              


country at which its tickets are regularly sold, but the passenger had purchased his ticket at the

office of another airline or at a travel agency.” Id. As the court noted, UAA’s argument—like

Malaysia Airlines’ position here—rested on two assumptions:

       [F]irst, it assumes the framers recognized that an airline might establish a regular
       place of business and permit the sale of its tickets in the territory of a High
       Contracting Party, and yet, by means of interline agreements, arrange for all sales
       of its tickets to be “made” at the offices of other airlines or travel agencies and
       further requires that all such sales be confirmed abroad; second, the argument
       assumes that, having adverted to this problem, the framers intended to permit
       airlines to avoid the letter of this provision in this manner.

Id. But the court found “no indication in the language of [the Third Jurisdiction] or in the

relevant legislative history that the framers intended the scope of this provision to vary

depending on the ticketing and booking practices of international carriers.” Id. at 814. To the

contrary, the court explained, the “central purpose of … [the] third provision was to make venue

always proper in the country where the ticket was purchased—assuming it is a High Contracting

Party—if, but only if, the defendant has a place of business there.” Id. Thus, the court determined

“that if the framers had recognized this problem they would have wished that an airline that had

a place of business in the territory of a High Contracting Party and permitted its tickets to be sold

in that country be subject to suit in that country’s courts.” Id. Accordingly, it held:

       [V]enue is proper under … [the] third provision in the courts of a High
       Contracting Party when the defendant has a place of business in that country at
       which it regularly issues tickets even though the injured passenger’s ticket is
       purchased at the office of another airline and confirmed abroad on the ground
       that the office that issued the ticket to the passenger should be regarded as a
       “place of business” of the defendant airline “through which the contract has been
       made.”

Id. at 814-15. Put another way, the court said: “Our holding simply means that a foreign airline

which has done this cannot avoid the reach of this provision if it instructs other airlines and




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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 53 of 56
                                                                


travel agencies that occasionally act as its sales agent in that country to confirm the sales directly

with the foreign airline’s overseas office.” Id. at 815.52

              Notably, the court found that the California SAS office “acted as UAA’s agent for the

purposes of issuing UAA’s ticket and collecting UAA’s fare.” Id. at 814. This was true, the court

said, even though the plaintiff’s sale was the only instance in which an SAS office had ever

issued a ticket for a UAA flight. Id. As the court saw it, “this single instance of an agency

relationship between SAS and UAA tends to establish that when this ticket was sold at least a

tacit arrangement existed between SAS and UAA whereby each would issue tickets and collect

fares for air transportation to be performed by the other.” Id.53

              Here, as the TIGADA amply demonstrates, Travelport, as owner of American Express

and Orbitz, acted as Malaysia Airlines’ agent for the purpose of issuing Malaysia Airlines’

airline tickets and collecting Malaysia Airlines’ fares. Indeed, Malaysia Airlines and Travelport

entered into a separate Airline Content Agreement (“AOC”), see Ex. 39 (“AOC”) (filed under

seal), which further cemented their principal-agent relationship. In that AOC, Malaysia Airlines

agreed to:
                                                            
52
   As this holding suggests, Eck did not turn on the fact that the plaintiff was in the United States when she booked
her ticket. To the contrary, the court’s holding focused on the airline’s business—and on the airline’s conduct in
avoiding the strictures of the Third Jurisdiction—rather than on the plaintiff’s location. And this makes sense. After
all, as we have noted, the Third Jurisdiction—like the First, Second, and Fourth—is a vestige of Article 28(1) of the
Warsaw Convention, under which the only relevant criteria were, in every instance, the airline’s contacts with a
particular jurisdiction. See ICAO, International Conference on Air Law, Vol. II, Documents, 1999, Doc. 9775-DC/2,
at 101 (“It has long been the view of the United States that passengers or their heirs who have claims against an
airline resulting from an accident in international air transportation should have the right to bring suit in the courts of
the State where the passenger lived. The four bases for court jurisdiction under the Warsaw Convention indirectly
permit this in most cases. However, in a limited number of cases, the four jurisdictions may not include the
passenger’s homeland.”). Put another way, under the Warsaw Convention—that is, before the implementation of
Montreal’s Fifth Jurisdiction—the passenger’s location was, in every respect, irrelevant to the analysis. Compare
Warsaw Convention, Art. 28(1), with Montreal Convention, Art. 33(1) and (2). And, because Article 33(1) of
Montreal is to be treated identically to Article 28(1) of Warsaw, the passenger’s location under any of the first four
jurisdictions remains inapposite after Montreal. See Baah v. Virgin Atlantic Airways Ltd., 473 F.Supp.2d 591, 597
(S.D.N.Y. 2007).
53
   Although Eck predates the Montreal Convention, its interpretation of Warsaw’s Third Jurisdiction is equally
applicable to our analysis of the Third Jurisdiction under Montreal. See Baah, 473 F. Supp. 2d at 597. After all,
unlike the Fifth Jurisdiction, which finds no parallel in the Warsaw Convention, Article 33(1) of the Montreal
Convention is an untouched vestige of Warsaw’s Article 28(1).


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               Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 54 of 56
                                                                


              (1) “provide Content[54] to Travelport via a System for the use and benefit of
              Travelport Subscribers;”
              (2) “provide Content to Travelport for the use and benefit of Travelport
              Subscribers at no less favourable levels and no less favourable terms than it
              makes any Content available for sale through other Distribution Channels;”
              (3) “offer Content parity on Participant Flights between the System and any
              Distribution Channel for the use and benefit of Travelport Subscribers” and
              (4) “provide to Travelport the same or substantially similar sales, promotional and
              marketing opportunities which it provides to Distribution Channel, and will not
              discriminate against Traveleport or the System in relation to promotional or
              marketing activities.”

    Id. at 4 ¶ 3.1. This formal series of agreements establishes a far more comprehensive agency

relationship than did the single ticket offering the Second Circuit found sufficient in Eck.

              In short, because the Wood and Gaspard contracts were made in the United States—and

because Malaysia Airlines operated an office in the United States—this Court may exercise

Third Jurisdiction over the Wood and Gaspard claims. See Eck, 360 F.2d at 814-15.

                                                               Conclusion

              For the reasons set forth in this Response, the Court should deny Malaysia Airlines’

Motion to Dismiss for Lack of Subject Matter Jurisdiction under the Montreal Convention.




                                                            
54
   “Content” is defined as: [A]ll functionality and products for all Participant Flights available to any Distribution
Channel (excluding the Participant Channel), and includes all fares, schedules and associated inventory for all
Participant Flights including, but not limited to: (i) domestic flights, international flights and group bookings; (ii)
fares, schedules and associated inventory distributed by the Participant through any CRS; (iii) all other promotional
fares and associated inventory; and (iv) all other promotions, incentives, and commissions or other substantially
similar programs for Participant Flights which are distributed by the Participant through any CRS[.] See Ex. 40
(agreement between Malaysia Airlines and Travelport) (filed under seal), at 2 ¶ 2.1.


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       Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 55 of 56
                                   


Dated: July 21, 2017

                                            Respectfully Submitted,

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                                      46 
 
       Case 1:16-mc-01184-KBJ Document 63 Filed 07/21/17 Page 56 of 56
                                         


                              CERTIFICATE OF SERVICE


        The undersigned certifies that, on July 21, 2017, pursuant to Fed. R. Civ. P. 5 and
LCvR5.3, a true and correct copy of the foregoing PLAINTIFFS’ RESPONSE TO MALAYSIA
AIRLINES’ MOTION TO DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION
was filed with the Clerk of Court using the CM/ECF System, which will send notification of
such filing to the attorneys of record at the e-mail addresses on file with the Court.

                                                  /s/ Roy K. Altman
                                                  Roy K. Altman




                                            47 
 
